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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

ELEANOR and ROCCO CIOFOLETTI, and
LARRY STOSPAL on behalf of themselves
and all others similarly situated,

                            Plaintiffs,

          v.                                      Civil Action No.: 18-cv-03025-JNE-ECW
SECURIAN FINANCIAL GROUP, INC.,
MINNESOTA LIFE INSURANCE
COMPANY, SECURIAN LIFE INSURANCE
COMPANY, SHURWEST LLC and
MINNESOTA MUTUAL COMPANIES, INC.,

                            Defendants.


                SHURWEST, LLC’S SUGGESTION OF BANKRUPTCY

          PLEASE TAKE NOTICE that on August 31, 2021 Shurwest, LLC filed a petition

for relief pursuant to Title 11 of the United States Code (the “Bankruptcy Code”) in the

United States District Court for the District of Arizona. A copy of that petition is attached

hereto.

          PLEASE TAKE FURTHER NOTICE that pursuant to section 362(a) of the

Bankruptcy Code, the filing of the petition operates as an automatic stay of “the

commencement or continuation, including issuance or employment of process, of a

judicial, administrative, or other action or proceeding against the debtor that was or could

have been commenced before the commencement of the case under this title, or to recover

a claim against the debtor that arose before the commencement of the case under this title,




                                             1
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or to recover a claim against the debtor that arose before the commencement of the case

under this title.”

                                          /s/ Jason M. Hopkins
                                           Brooke D. Anthony (#0387559)
                                           Philip J. Kaplan (#0389351)
                                           ANTHONY OSTLUND
                                           BAER & LOUWAGIE P.A.
                                           3600 Wells Fargo Center
                                           90 South Seventh Street
                                           Minneapolis, Minnesota 55402
                                           Tel: (612) 349-6969
                                           Fax: (612) 349-6996
                                           Email: banthony@anthonyostlund.com
                                                   pkaplan@anthonyostlund.com

                                          and

                                          Jason S. Lewis
                                          (Texas No. 24007551 pro hac vice)
                                          Jason M. Hopkins
                                          (Texas No. 24059969 pro hac vice)
                                          DLA PIPER LLP (US)
                                          1900 N. Pearl St., Ste. 2200
                                          Dallas, Texas 75201
                                          Tel: (214) 743-4500
                                          Fax: (214) 743-4545
                                          Email: jason.lewis@dlapiper.com
                                                  jason.hopkins@dlapiper.com

                                          Attorneys for Defendant Shurwest, LLC

                           CERTIFICATE OF SERVICE

       I certify that I served the foregoing document on all counsel of record on August

31, 2021 via the Court’s CM/ECF system.

                                          /s/ Jason M. Hopkins
                                           Jason M. Hopkins




                                           2
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SHURWEST, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Shurwest, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  17550 N. Perimeter Drive
                                  Suite 300
                                  Scottsdale, AZ 85255
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       Shurwest.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    SHURWEST, LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5242

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first subbox. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B)
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known

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Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   SHURWEST, LLC                                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    SHURWEST, LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 31, 2021
                                                  MM / DD / YYYY


                             X   /s/ James Maschek                                                        James Maschek
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   President




18. Signature of attorney    X   /s/ Isaac D. Rothschild                                                   Date August 31, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Isaac D. Rothschild 25726
                                 Printed name

                                 Mesch Clark Rothschild
                                 Firm name

                                 259 N. Meyer Ave.
                                 Tucson, AZ 85701-1090
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (520) 624-8886                Email address      ecfbk@mcrazlaw.com

                                 25726 AZ
                                 Bar number and State




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                                                         Shurwest, LLC
(Modified Accrual Basis)                                     Profit & Loss
(Not Audited - No Opinion Expressed)                 January through June 2021    Jan - Jun 21
                           Ordinary Income/Expense
                                    Income
                                         Annuity Income                                  979,260
                                         Life Income                                     382,766
                                         Miscellaneous Income                             90,124
                                    Total Income                                       1,452,150
                               Gross Profit                                            1,452,150
                                    Expense
                                         Agent & Advertising Expense                     557,795
                                         Computer, CRM & Related Expense                  18,093
                                         Leased Employee/Payroll Expense                  67,860
                                         Other Employee/Leased Employee Expense            1,428
                                         Office Expense                                    5,623
                                         Professional Fees                             1,756,791
                                         Rent Expense                                      5,272
                                         Travel, Meals & Entertainment                     1,689
                                         Other Expenses                                   20,681
                                    Total Expense                                      2,435,233
                           Net Ordinary Income                                          (983,083)
                           Other Income/Expense
                               Other Income                                                  -
                               Other Expense                                             257,552
                           Net Other Income                                             (257,552)
                                    Net Income                                        (1,240,635)




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                                                          Shurwest, LLC
(Modified Accrual Basis)                                    Balance Sheet
(Not Audited - No Opinion Expressed)                  As of June 30, 2021   June 30, 2021
                           ASSETS
                              Current Assets
                                    Checking/Savings                               88,553
                                    Accounts Receivable                           190,559
                                    Other Current Assets                          348,074
                              Total Current Assets                                627,187
                              Fixed Assets
                                    Fixed Assets                                1,992,653
                                    Fixed Assets - A/D                         (1,528,953)
                              Total Fixed Assets                                  463,700
                              Other Assets                                     14,856,400
                           TOTAL ASSETS                                        15,947,287
                           LIABILITIES & EQUITY
                              Liabilities
                                    Current Liabilities
                                            Accounts Payable                    1,190,024
                                            Credit Cards                           21,955
                                            Other Current Liabilities           2,328,466
                                    Total Current Liabilities                   3,540,445
                                    Long Term Liabilities                          27,121
                              Total Liabilities                                 3,567,566
                              Equity
                                    Dividends                                      (1,717)
                                    Paid in Capital                            13,622,073
                                    Net Income                                 (1,240,635)
                              Total Equity                                     12,379,721
                           TOTAL LIABILITIES & EQUITY                          15,947,287


                                                                                     -




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                                       Shurwest, LLC
                                    Statement of Cash Flows
                                 January 1 through June 30,2021   Jan - Jun 21
                  OPERATING ACTIVITIES
                        Net Income                                   (1,240,635)
                        Adjustments to reconcile Net Income
                        to net cash provided by operations:              94,899
                  Net cash provided by Operating Activities          (1,145,736)
                  INVESTING ACTIVITIES
                  Net cash provided by Investing Activities            127,419
                  FINANCING ACTIVITIES
                  Net cash provided by Financing Activities             (10,849)
             Net cash increase for period                            (1,029,166)
             Cash at beginning of period                              1,117,719
         Cash at end of period                                           88,553




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                                            Shurwest, LLC
(Modified Accrual Basis)                        Profit & Loss
(Not Audited‐No Opinion Expressed)   January through December 2020
                                                                     Jan ‐ Dec 20
Ordinary Income/Expense
            Income
                   Annuity Income                                        2,773,059
                   Life Income                                              50,335
                   Miscellaneous Income                                    225,368
            Total Income                                                 3,048,762
     Gross Profit                                                        3,048,762
            Expense
                   Agent & Advertising Expense                            1,155,225
                   Computer, CRM & Related Expense                           49,855
                   Interest Expense                                          53,468
                   Leased Employee/Payroll Expense                          126,863
                   Office Expense                                            11,142
                   Printing/Marketing                                       110,584
                   Professional Fees                                      3,269,154
                   Rent Expense                                              26,110
                   Travel, Meals & Entertainment                              3,720
                   Other Expenses                                            32,493
            Total Expense                                                 4,838,614
Net Ordinary Income                                                      (1,789,852)
Other Income/Expense
     Other Income                                                        3,150,000
     Other Expense                                                       2,236,700
Net Other Income                                                           913,300
            Net Income                                                    (876,553)




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                                          Shurwest, LLC
(Modified Accrual Basis)                      Balance Sheet
(Not Audited‐No Opinion Expressed)      As of December 31, 2020
                                                                  Dec 31, 2020
ASSETS
     Current Assets
            Checking/Savings                                          1,116,919
            Accounts Receivable                                         145,061
            Other Current Assets                                        318,518
     Total Current Assets                                             1,580,498
     Fixed Assets
            Fixed Assets                                              1,992,653
            Fixed Assets - A/D                                       (1,401,534)
     Total Fixed Assets                                                 591,119
     Other Assets                                                    14,856,400
TOTAL ASSETS                                                         17,028,017
LIABILITIES & EQUITY
     Liabilities
            Current Liabilities
                    Accounts Payable                                    909,608
                    Credit Cards                                         18,222
                    Other Current Liabilities                         2,441,860
            Total Current Liabilities                                 3,369,691
            Long Term Liabilities                                        37,970
     Total Liabilities                                                3,407,661
     Equity
            Dividends                                                    (1,717)
            Paid in Capital                                          14,498,625
            Net Income                                                 (876,553)
     Total Equity                                                    13,620,356
TOTAL LIABILITIES & EQUITY                                           17,028,017


                                                                           ‐




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                              Shurwest, LLC
                           Statement of Cash Flows
                      January 1 through December 31, 2020
                                                            Jan ‐ Dec 20
         OPERATING ACTIVITIES
               Net Income                                        (876,553)
               Adjustments to reconcile Net Income
               to net cash provided by operations:             1,304,665
         Net cash provided by Operating Activities               428,113
         INVESTING ACTIVITIES
         Net cash provided by Investing Activities               299,348
         FINANCING ACTIVITIES
         Net cash provided by Financing Activities               (23,414)
    Net cash increase for period                                 704,047
    Cash at beginning of period                                  413,672
Cash at end of period                                          1,117,719




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                                                    IRS e-file Signature Authorization
       8879-PE
                                                                                                                                         OMB No. 1545-0123

Form
                                                               for Form 1065
Department of the Treasury
Internal Revenue Service
                                                   | ERO must obtain and retain completed Form 8879-PE.
                                                  | Go to www.irs.gov/Form8879PE for the latest information.
                                                                                                                                            2020
                                  For calendar year 2020, or tax year beginning         , 2020, ending                ,20      .
Name of partnership                                                                                                         Employer identification number
                      SHURWEST LLC                                                                                          XX-XXXXXXX
 Part I            Tax Return Information               (Whole dollars only)
  1 Gross receipts or sales less returns and allowances (Form 1065, line 1c) ~~~~~~~~~~~~~~~~~~~                                   1        3,047,905.
  2 Gross profit (Form 1065, line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       2        3,047,905.
  3 Ordinary business income (loss) (Form 1065, line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3          767,858.
  4 Net rental real estate income (loss) (Form 1065, Schedule K, line 2) ~~~~~~~~~~~~~~~~~~~~~~                                    4
  5 Other net rental income (loss) (Form 1065, Schedule K, line 3c)                                        5
 Part II           Declaration and Signature Authorization of Partner or Member
                   (Be sure to get a copy of the partnership's return.)




                                                                                                          PY
Under penalties of perjury, I declare that I am a partner or member of the above partnership and that I have examined a copy of the partnership's 2020
electronic return of partnership income and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct,
and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the partnership's electronic return of
partnership income. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to send the partnership's
return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the transmission and (b) the reason for any
delay in processing the return. I have selected a personal identification number (PIN) as my signature for the partnership's electronic return of




                                                                                       CO
partnership income.

Partner's or Member's PIN: check one box only

       X I authorize EIDE BAILLY LLP                                                                                   to enter my PIN
                                                              ERO firm name                                                              Don't enter all zeros
             as my signature on the partnership's 2020 electronically filed return of partnership income.
             As a partner or member of the partnership, I will enter my PIN as my signature on the partnership's 2020 electronically filed
                                                                                  NT
             return of partnership income.
Partner's or member's signature |
Title |     MANAGING MEMBER                                                                                                        Date |

 Part III          Certification and Authentication
                                              IE

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                    Don't enter all zeros
I certify that the above numeric entry is my PIN, which is my signature on the 2020 electronically filed return of partnership income for the partnership
indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation,
and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.
                                            CL



ERO's signature |                                                                                        Date |    03/30/21

                                             ERO Must Retain This Form - See Instructions
                                     Don't Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice, see instructions.                                                                                  Form 8879-PE (2020)
LHA




021031 12-18-20
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Form
        7004
(Rev. December 2018)
                                            Application for Automatic Extension of Time To File Certain
                                              Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
Department of the Treasury                               | File a separate application for each return.
Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.
                  Name                                                                                                                                 Identifying number


Print             SHURWEST LLC                                                                                                                            XX-XXXXXXX
                  Number, street, and room or suite no. (If P.O. box, see instructions.)
or
Type              17550 N PERIMETER DR #300
                  City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                  SCOTTSDALE, AZ                        85255
Note: File request for extension by the due date of the return. See instructions before completing this form.
 Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
1  Enter the form code for the return listed below that this application is for  09




                                                                                                                         PY
Application                                                                      Form         Application                                                                   Form
Is For:                                                                          Code         Is For:                                                                       Code
Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23




                                                                                                    CO
Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
Form 1041-N                                                                        06         Form 1120S                                                                         25
Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
Form 1042                                                                          08         Form 3520-A                                                                        27
Form 1065                                                                          09         Form 8612                                                                          28
Form 1066                                                                          11         Form 8613                                                                          29
Form 1120                                                                          12         Form 8725                                                                          30
Form 1120-C                                                                        34         Form 8804                                                                          31
                                                                              NT
Form 1120-F                                                                        15         Form 8831                                                                          32
Form 1120-FSC                                                                      16         Form 8876                                                                          33
Form 1120-H                                                                        17         Form 8924                                                                          35
Form 1120-L                                                                        18         Form 8928                                                                          36
Form 1120-ND                                                                       19
 Part II       All Filers Must Complete This Part
                                                 IE

2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
       check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
       check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
       If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
                                               CL



       covered by this application.
4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
5 a The application is for calendar year 2020 , or tax year beginning                                                          , and ending
  b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
             Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7


8 Balance due. Subtract line 7 from line 6. See instructions                                                            8
LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)

                                                   DEPARTMENT OF THE TREASURY
                                                   INTERNAL REVENUE SERVICE CENTER
                                                   OGDEN, UT 84201-0045




019741 04-01-20
             Case 2:21-bk-06723-DPC                           Doc 1 Filed 08/31/21 Entered 08/31/21 11:12:09                                                      Desc
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                                                                              EXTENSION GRANTED TO 09/15/21
Form
                                                 1065                                               U.S. Return of Partnership Income                                                                                       OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                                              For calendar year 2020, or tax year beginning                             ,
                                                                                           | Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                        , ending                   ,                .
                                                                                                                                                                                                                               2020
A                                               Principal business activity                   Name of partnership                                                                                                       D   Employer identification
                                                                                                                                                                                                                            number

INSURANCE                                                                                  SHURWEST LLC                                                                                                                  XX-XXXXXXX
                                                                                    Type Number, street, and room or suite no. If a P.O. box, see instructions.
B                                       Principal product or service                 or                                                                                                                                 E   Date business started
                                                                                    Print 17550 N PERIMETER DR #300                                                                                                      04/30/1992
SALES                                                                                        City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                        F   Total assets

C                                       Business code number
524210                                                                                     SCOTTSDALE                                                                                   AZ 85255                        $17,028,014.
G                                               Check applicable boxes:   (1)       Initial return  (2)       Final return     (3)        Name change (4)                                    Address change (5)                  Amended return
H                                               Check accounting method: (1)        Cash            (2)  X Accrual             (3)        Other (specify) |
I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year     |                                            3




                                                                                                                                                                                       PY
J                                               Check if Schedules C and M-3 are attached  |
K    Check if partnership: (1)       Aggregated activities for section 465 at-risk purposes (2)    Grouped activities for section 469 passive activity purposes
  Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1a     3,047,905.
                                                      b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~            1b
                                                      c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          1c              3,047,905.




                                                                                                                                                            CO
                                                  2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2
                                                                                                                                                                                                                            3,047,905.
   Income




                                                  3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
                                                  4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                 4
                                                  5     Net farm profit (loss) (attach Schedule F (Form 1040)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     5
                                                  6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                              6
                                                  7     Other income (loss) (attach statement)                                SEE STATEMENT 2
                                                                                                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             7            3,150,000.
                                                  8     Total income (loss). Combine lines 3 through 7                                                                           8            6,197,905.
                                                  9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                              9
Deductions (see instructions for limitations)




                                                                                                                                  NT
                                                10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               10
                                                11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   11
                                                12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          12                        437.
                                                13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            13                     47,807.
                                                14                                                   SEE STATEMENT 3
                                                        Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     14                      7,018.
                                                15      Interest (see instructions)            15                                                                                         53,468.
                                                                                                                                12,673.
                                                                                                 IE

                                                16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a
                                                   b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b         16c                                                                                        12,673.
                                                17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       17
                                                18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18
                                                19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  19
                                                                                               CL



                                                20      Other deductions (attach statement)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ SEE STATEMENT 4                                                              20              5,308,644.
                                                21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20                                                    21              5,430,047.
                                                22      Ordinary business income (loss). Subtract line 21 from line 8                                                                22                767,858.
                                                23      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                   23
   Tax and Payments




                                                24      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                       24
                                                25      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        25
                                                26      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26
                                                27      Total balance due. Add lines 23 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         27
                                                28      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 28
                                                29      Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                             29
                                                30      Overpayment. If line 28 is larger than line 27, enter overpayment                                                              30
                                                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                            and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                                        which preparer has any knowledge.


                                                              =                                                                                                               =
                                                                                                                                                                                                           May the IRS discuss this return with
Here                                                                                                                                                                                                       the preparer shown below?
                                                                   Signature of partner or limited liability company member                                                           Date                 See instr.
                                                                                                                                                                                                                               X Yes                No
                                                            Print/Type preparer's name                                Preparer's signature                                     Date           Check            if       PTIN
                                                           MACKENZIE J. RENTSCH MACKENZIE J. RENTSCH 03/30/21                                                                                 self-employed              P00739720
Paid                                                         Firm's name      |
Preparer                                                      EIDE BAILLY LLP                                                                                                                Firm's EIN    |   XX-XXXXXXX
Use Only                                                     Firm's address |2355 E CAMELBACK RD, STE 900
                                                              PHOENIX, AZ 85016-9065                                                                                                         Phone no.     480-315-1040
        Case 2:21-bk-06723-DPC
LHA For Paperwork Reduction Act Notice, see separateDoc    1 Filed
                                                    instructions.                                                          08/31/21
                                                                                                                             011001 01-06-21 Entered 08/31/21 11:12:09                                                         Desc
                                                                                                                                                                                                                               Form 1065 (2020)
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Form 1065 (2020)      SHURWEST LLC                                                                                                   XX-XXXXXXX           Page      2
  Schedule B          Other Information
  1       What type of entity is filing this return? Check the applicable box:                                                                     Yes         No
      a       Domestic general partnership                             b         Domestic limited partnership
      c   X Domestic limited liability company                         d         Domestic limited liability partnership
      e       Foreign partnership                                      f         Other |
  2       At the end of the tax year:
      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
          exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
          loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
          B-1, Information on Partners Owning 50% or More of the Partnership             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               X
      b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
          the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
          on Partners Owning 50% or More of the Partnership                                                               X




                                                                                                                PY
  3       At the end of the tax year, did the partnership:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
          stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
          If "Yes," complete (i) through (iv) below                 X
                            (i) Name of Corporation                 (ii) Employer
                                                                                  (iii) Country of (iv) Percentage
                                                                                            Identification                                       Owned in
                                                                                           Number (if any)                Incorporation         Voting Stock




                                                                                              CO
      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
          or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
          interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below             X
                                                               (ii)                                                                     (v)
                                                                           NT
                    (i) Name of Entity                              Employer      (iii) Type of Entity              (iv) Country of         Maximum
                                                             Identification Number                                                           Percentage Owned in
                                                                      (if any)                                            Organization       Profit, Loss, or Capital
                                             IE

  4       Does the partnership satisfy all four of the following conditions?                                                                        Yes        No
      a   The partnership's total receipts for the tax year were less than $250,000.
      b   The partnership's total assets at the end of the tax year were less than $ 1 million.
      c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
                                           CL



          extensions) for the partnership return.
      d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 X
          If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
          or item L on Schedule K-1.
  5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                           X
  6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
          so as to reduce the principal amount of the debt?                                                              X
  7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?                                                                  X
  8       At any time during calendar year 2020, did the partnership have an interest in or a signature or other authority over
          a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
          See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
          Financial Accounts (FBAR). If "Yes," enter the name of the foreign country |                                                                          X
  9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
          transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
          Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                           X
10 a      Is the partnership making, or had it previously made (and not revoked), a section 754 election?            ~~~~~~~~~~~~~~~~                X
          See instructions for details regarding a section 754 election.
      b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
          attach a statement showing the computation and allocation of the basis adjustment. See instructions                                      X
011011 01-06-21                                                                                                                            Form   1065 (2020)
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Form 1065 (2020)        SHURWEST LLC                                                                                            XX-XXXXXXX        Page   3
  Schedule B            Other Information (continued)
     c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a                   Yes    No
         substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
         734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions                 X
11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a
         like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
         owned by the partnership throughout the tax year)       |
12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
         undivided interest in partnership property?                                                      X
13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
         Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
         instructions                                                   |
14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
                                                                                                                                                    X




                                                                                                          PY
         Information Statement of Section 1446 Withholding Tax, filed for this partnership       |
15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
         to this return                                                 |
16 a     Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                      X
     b   If "Yes," did you or will you file required Form(s) 1099?                                        X
17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign




                                                                                        CO
         Corporations, attached to this return  |
18       Enter the number of partners that are foreign governments under section 892  |
19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
         and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                            X
20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions for Form 8938           X
21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)?                        X
22       During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
         not allowed a deduction under section 267A? See instructions        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       X
                                                                     NT
         If "Yes," enter the total amount of the disallowed deductions      | $
23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
         business in effect during the tax year? See instructions                                               X
24       Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     X
     a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
         preceding the current tax year are more than $26 million and the partnership has business interest.
                                           IE

     c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
         If "Yes" to any, complete and attach Form 8990.
25       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions     ~~~~~~~            X
         If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
         line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    |
                                         CL



        If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR |        SHURWEST HOLDING COMPANY, INC.

                      =                                                                                           =
                           17550 N. PERIMETER DRIVE, STE. 30                                     U.S. phone
U.S. address of PR
                           SCOTTSDALE, AZ 85255                                                  number of PR         800-440-1088
If the PR is an entity, name of the designated individual for the PR | JIM MASCHEK



                  =                                                                                           =
                                                                                                 U.S. phone
U.S. address of                                                                                  number of
designated            17550 N. PERIMETER DRIVE, SUITE 300                                        designated
individual            SCOTTSDALE, AZ 85255                                                       individual         800-440-1088
26       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?       ~~~~~~~~~~~~~~~~~~~~~~                            X
         If "Yes," enter the amount from Form 8996, line 16                               |$
27       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
         interest in the partnership or of receiving a distribution from the partnership  |
28       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
         disclosure requirements of Regulations section 1.707-8?                                                 X
29       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
         constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
         purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
         the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
         Percentage:                                                  By Vote                              By Value                                 X
011021 01-06-21                                                                                                                       Form   1065 (2020)
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Form 1065 (2020)                         SHURWEST LLC                                                                                    XX-XXXXXXX          Page   4
   Schedule K                            Partners' Distributive Share Items                                                                   Total amount
                           1     Ordinary business income (loss) (page 1, line 22)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                         1        767,858.
                           2     Net rental real estate income (loss) (attach Form 8825)                          2
                           3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                    3a
                             b Expenses from other rental activities (attach statement) ~~~~~~~          3b
                               c Other net rental income (loss). Subtract line 3b from line 3a                     3c
                                 Guaranteed
                           4     payments:      a Services   4a                                 b Capital 4b
                                 c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4c
     Income (Loss)




                           5                                               SEE STATEMENT 5
                                 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             5              857.
                           6     Dividends and dividend equivalents:       a Ordinary dividends                     6a
                                 b Qualified dividends 6b       c Dividend equivalents 6c
                           7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                7
                           8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                   8
                           9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                      9a




                                                                                                                      PY
                             b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                             c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                          10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            10
                          11     Other income (loss) (see instructions) Type |                                                          11
                          12     Section 179 deduction (attach Form 4562)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           12
     Deductions




                                                                              SEE STATEMENT 6
                          13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               13a             325.




                                                                                                      CO
                             b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         13b
                               c Section 59(e)(2) expenditures: (1) Type |                                              (2) Amount | 13c(2)
                             d Other deductions (see instructions) Type |            SEE STATEMENT 7                                    13d       793,024.
                                                                                                                                                  395,447.
 Employ-




                          14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  14a
  ment
  Self-




                               b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    14b
                               c Gross nonfarm income                                            14c   3,191,921.
                          15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               15a
                             b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     15b
     Credits




                                                                                        NT
                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~   15c
                               d Other rental real estate credits (see instructions) Type |                                             15d
                               e Other rental credits (see instructions)             Type |                                             15e
                               f Other credits (see instructions)                    Type |                                             15f
                          16 a Name of country or U.S. possession |                               ~~
                             b Gross income from all sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        16b
                                                               IE

                             c Gross income sourced at partner level ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    16c
                                 Foreign gross income sourced at partnership level
   Foreign Transactions




                               d Reserved for future use |                           e Foreign branch category ~~~~~~~~~ |              16e
                                 Passive
                               f category |                          g General category |                          h Other ~ |          16h
                                 Deductions allocated and apportioned at partner level
                                                             CL



                               i Interest expense |                                j Other ~~~~~~~~~~~~~~~~~~~                     |    16j
                                 Deductions allocated and apportioned at partnership level to foreign source income
                               k Reserved for future use |                               l Foreign branch category ~~~~~~~~~ |          16l
                                 Passive
                               m category |                                n General category |                        o Other ~ |      16o
                               p Total foreign taxes (check one): |                Paid          Accrued      ~~~~~~~~~~~~~~            16p
                               q Reduction in taxes available for credit (attach statement) ~~~~~~~~~~~~~~~~~~~~~~                      16q
                               r Other foreign tax information (attach statement) 
                          17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       17a
Minimum Tax
(AMT) Items




                            b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            17b
Alternative




                               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  17c
                               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                           17d
                               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                            17e
                               f Other AMT items (attach statement)                                    17f
                          18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         18a
                             b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           18b
    Other Information




                                                                                         SEE STATEMENT 8
                             c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18c          1,748.
                          19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              19a          1,717.
                             b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     19b
                          20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20a             857.
                               b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
                                                                                                STMT 9
                               c Other items and amounts (attach statement) 
011041 01-06-21
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               SHURWEST LLC
Form 1065 (2020)                                                                                                                                              XX-XXXXXXX             Page   5
Analysis of Net Income (Loss)
1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 16p          1                 -24,634.
2     Analysis by                                              (ii) Individual             (iii) Individual                                         (v) Exempt                   (vi)
                                 (i) Corporate                     (active)                    (passive)                (iv) Partnership           Organization             Nominee/Other
      partner type:
    a General partners
    b Limited partners            372,669.                                                                              -397,303.

    Schedule L              Balance Sheets per Books
                                                                                       Beginning of tax year                                              End of tax year
                           Assets
                                                                                 (a)                              (b)                             (c)                          (d)
    1 Cash ~~~~~~~~~~~~~~~~                                                                                     413,671.                                               1,116,917.
    2a Trade notes and accounts receivable ~                                     28,819.                                                         145,061.
     b Less allowance for bad debts ~~~~                                                                          28,819.                                                     145,061.
    3 Inventories ~~~~~~~~~~~~~




                                                                                                                                       PY
    4 U.S. government obligations ~~~~~
    5 Tax-exempt securities ~~~~~~~~
    6 Other current assets (attach statement) ~                  STATEMENT 10                                   328,036.                                                      318,517.
    7a Loans to partners (or persons related to partners) ~
     b Mortgage and real estate loans ~~~
    8 Other investments (attach statement) ~
                                                                       1,992,653.                                                               1,992,653.




                                                                                                                CO
    9a Buildings and other depreciable assets
  b Less accumulated depreciation ~~~                                  1,102,186.                               890,467.                        1,401,534.                    591,119.
10a Depletable assets ~~~~~~~~~~
  b Less accumulated depletion ~~~~~
11 Land (net of any amortization) ~~~~
12a Intangible assets (amortizable only) ~~                          14,829,750.                                                           14,829,750.
  b Less accumulated amortization ~~~                                                                   14,829,750.                                                  14,829,750.
13 Other assets (attach statement) ~~~                           STATEMENT 11                               26,650.                                                      26,650.
                                                                                                        16,517,393.                                                  17,028,014.
                                                                                         NT
14 Total assets ~~~~~~~~~~~~~
        Liabilities and Capital
15 Accounts payable ~~~~~~~~~~                                                                                  192,176.                                                      909,608.
16      Mortgages, notes, bonds payable in less than 1 year

17 Other current liabilities (attach statement) ~                STATEMENT 12                             1,176,593.                                                   2,498,052.
18 All nonrecourse loans ~~~~~~~~
                                                                                                                650,000.
                                                        IE

19a     Loans from partners (or persons related to partners)

  b Mortgages, notes, bonds payable in 1 year or more
20 Other liabilities (attach statement) ~~
21 Partners' capital accounts ~~~~~~                 14,498,624.                                                                                                     13,620,354.
22 Total liabilities and capital               16,517,393.                                                                                                     17,028,014.
                                                      CL



 Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                Note: The partnership may be required to file Schedule M-3. See instructions.
 1      Net income (loss) per books ~~~~~~~                                      -876,553. 6 Income recorded on books this year not included
 2      Income included on Schedule K, lines 1, 2, 3c,                                                        on Schedule K, lines 1 through 11 (itemize):
        5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                 a Tax-exempt interest $
        this year (itemize):
 3 Guaranteed payments (other than health                                                                7 Deductions included on Schedule K, lines 1
   insurance) ~~~~~~~~~~~~~~~~                                                                             through 13d, and 16p, not charged against
 4    Expenses recorded on books this year not included on                                                    book income this year (itemize):
      Schedule K, lines 1 through 13d, and 16p (itemize):                                                  a Depreciation $
        STMT 13                  1,378,218.                                                                    STMT 14                           814,721.                     814,721.
    a Depreciation $               286,675.                                                              8 Add lines 6 and 7 ~~~~~~~~~~~~                                     814,721.
    b Travel and entertainment $     1,748.
                                         1,666,641. 9 Income (loss) (Analysis of Net Income (Loss),
 5 Add lines 1 through 4         790,088.  line 1). Subtract line 8 from line 5                                                                              -24,634.
  Schedule M-2 Analysis of Partners' Capital Accounts
 1 Balance at beginning of year ~~~~~~~ 14,498,624. 6 Distributions: a Cash ~~~~~~~~~                                                                                            1,717.
 2 Capital contributed: a Cash ~~~~~~~                                                                                      b Property ~~~~~~~~
                        b Property ~~~~~~                                                                7 Other decreases (itemize):
 3 Net income (loss) per books ~~~~~~~                                             766,642.                      STMT 15                                             14,683,232.
 4 Other increases (itemize):                                                                            8 Add lines 6 and 7 ~~~~~~~~~~~~                            14,684,949.
 5 Add lines 1 through 4                                       15,265,266. 9                    Balance at end of year. Subtract line 8 from line 5        580,317.
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SCHEDULE B-1                                      Information on Partners Owning 50% or
(Form 1065)                                              More of the Partnership
(Rev. August 2019)                                                                                                                           OMB No. 1545-0123
Department of the Treasury
                                                                      J Attach to Form 1065.
Internal Revenue Service                              J Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                                    Employer identification number



   SHURWEST LLC                                                                              XX-XXXXXXX
  Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
         2009 through 2017))
Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust,
tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
partnership (see instructions).
                             (i) Name of Entity                         (ii) Employer            (iii)                     (iv)              (v) Maximum
                                                                       Identification       Type of Entity       Country of Organization Percentage Owned
                                                                      Number (if any)                                                     in Profit, Loss, or




                                                                                                           PY
                                                                                                                                                 Capital

SHURWEST HOLDING COMPANY, INC.                                                            CORPORATION UNITED STATES                                       64.67

RLS CAPITAL HOLDINGS LLLP                                                                 LLP                   UNITED STATES                             64.67




                                                                                          CO
                                                                      NT
  Part II         Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                  (Question 3b for 2009 through 2017))
Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
capital of the partnership (see instructions).
                                                    IE

                   (i) Name of Individual or Estate                    (ii) Identifying    (iii) Country of Citizenship (see instructions)        (iv) Maximum
                                                                      Number (if any)                                                          Percentage Owned
                                                                                                                                                 in Profit, Loss,
                                                                                                                                                     or Capital
                                                  CL




LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                         Schedule B-1 (Form 1065) (Rev. 8-2019)




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SCHEDULE M-3                                             Net Income (Loss) Reconciliation                                                                  OMB No. 1545-0123

                                                              for Certain Partnerships
                                                                                                                                                              2020
(Form 1065)

Department of the Treasury
                                                                            | Attach to Form 1065.
Internal Revenue Service                             | Go to www.irs.gov/Form1065 for instructions and the latest information.
Name of partnership                                                                                                                             Employer identification number

            SHURWEST LLC                                                                                                                             XX-XXXXXXX
This Schedule M-3 is being filed because (check all that apply):
  A X The amount of the partnership's total assets at the end of the tax year is equal to $10 million or more.
    B       X    The amount of the partnership's adjusted total assets for the tax year is equal to $10 million or more. If box B is checked,
                 enter the amount of adjusted total assets for the tax year       31,712,963. .
    C            The amount of total receipts for the tax year is equal to $35 million or more. If box C is checked, enter the total
                 receipts for the tax year                                    .
    D       X    An entity that is a reportable entity partner with respect to the partnership owns or is deemed to own an interest of 50%




                                                                                                                            PY
                 or more in the partnership's capital, profit, or loss on any day during the tax year of the partnership.
                                                                                                                                             Maximum Percentage Owned or
                                    Name of Reportable Entity Partner                                       Identifying Number
                                                                                                                                                   Deemed Owned
SHURWEST HOLDING COMPANY, INC                                                                                            12                          64.6700%
RLS CAPITAL HOLDINGS LLLP                                                                                               913                          64.6700%
    E            Voluntary filer.




                                                                                                       CO
Part I            Financial Information and Net Income (Loss) Reconciliation
1a Did the partnership file SEC Form 10-K for its income statement period ending with or within this tax year?
          Yes. Skip lines 1b and 1c and complete lines 2 through 11 with respect to that SEC Form 10-K.
            X No. Go to line 1b. See instructions if multiple non-tax-basis income statements are prepared.
 b Did the partnership prepare a certified audited non-tax-basis income statement for that period?
          Yes. Skip line 1c and complete lines 2 through 11 with respect to that income statement.
            X No. Go to line 1c.
    c Did the partnership prepare a non-tax-basis income statement for that period?
        X Yes. Complete lines 2 through 11 with respect to that income statement.
                                                                                  NT
               No. Skip lines 2 through 3b and enter the partnership's net income (loss) per its books and records on line 4a.
2       Enter the income statement period:    Beginning 01/01/2020                      Ending 12/31/2020
3a Has the partnership's income statement been restated for the income statement period on line 2?
         Yes. (If "Yes," attach a statement and the amount of each item restated.)
            X No.
                                                    IE

 b Has the partnership's income statement been restated for any of the 5 income statement periods immediately preceding the period on line 2?
         Yes. (If "Yes," attach a statement and the amount of each item restated.)
            X No.
4a Worldwide consolidated net income (loss) from income statement source identified on Part I, line 1 ~~~~~~~~~~~~                              4a           -876,553.
 b Indicate accounting standard used for line 4a. See instructions.
                                                  CL



        1    GAAP           2        IFRS         3         Section 704(b)
   4         Tax-basis      5 X Other (specify) | BOOKS & RECORDS
5a Net income from nonincludible foreign entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                5a    (                          )
 b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~                               5b
6a Net income from nonincludible U.S. entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  6a    (                          )
 b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~~                                 6b
7a Net income (loss) of other foreign disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~                                           7a
 b Net income (loss) of other U.S. disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~                                            7b
8       Adjustment to eliminations of transactions between includible entities and nonincludible entities (attach stmt.)     ~~~~~~~             8
9       Adjustment to reconcile income statement period to tax year (attach statement) ~~~~~~~~~~~~~~~~~~~~~                                     9
10 Other adjustments to reconcile to amount on line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~                                              10
11 Net income (loss) per income statement of the partnership. Combine lines 4a through 10 ~~~~~~~~~~~~~~~                                       11           -876,553.
   Note: Part I, line 11, must equal Part II, line 26, column (a); or Form 1065, Schedule M-1, line 1. See instructions.
12 Enter the total amount (not just the partnership's share) of the assets and liabilities of all entities included or removed on the following lines.
                                                      Total Assets                      Total Liabilities
 a Included on Part I, line 4                       17,028,014.                          3,407,660.
 b Removed on Part I, line 5
 c Removed on Part I, line 6
 d Included on Part I, line 7
For Paperwork Reduction Act Notice, see the instructions for your return.                                                                        Schedule M-3 (Form 1065) 2020
010991 01-13-21 LHA
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           4562                                                     Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                        (Including Information on Listed Property)
                                                                                        | Attach to your tax return.
                                                                                                                                                       OTHER                       1
                                                                                                                                                                                            2020
                                                                                                                                                                                            Attachment
Internal Revenue Service   (99)                     | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                               Sequence No.   179
Name(s) shown on return                                                                                             Business or activity to which this form relates                      Identifying number



SHURWEST LLC                                                                                                                      XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        1,040,000.
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                             2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                              3            2,590,000.
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                      4
 5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                         5
 6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




                                                                                                                                               PY
 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8




                                                                                                                      CO
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11


                                                                                                                               9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                    13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
                                                                                            NT
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
16 Other depreciation (including ACRS)                                                                                                 16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2020                                           ~~~~~~~~~~~~~~                                17                    12,673.
                                                                                                           J
                                                           IE

18       If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                   Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                        (b) Month and        (c) Basis for depreciation
                   (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method       (g) Depreciation deduction
                                                                           in service         only - see instructions)              period


19a           3-year property
                                                         CL



     b        5-year property
     c        7-year property
     d        10-year property
     e        15-year property
     f        20-year property
     g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                               /                                                27.5 yrs.              MM                S/L
     h        Residential rental property
                                                                               /                                                27.5 yrs.              MM                S/L
                                                                               /                                                 39 yrs.               MM                S/L
     i        Nonresidential real property
                                                               /                                                 MM         S/L
                                 Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
20a           Class life                                                                                                                                                 S/L
  b           12-year                                                                                                             12 yrs.                                S/L
  c           30-year                                                          /                                                  30 yrs.              MM                S/L
  d           40-year                                                          /                                                  40 yrs.              MM                S/L
 Part IV             Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22                    12,673.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                            23
016251 12-18-20
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Form 4562 (2020)                 SHURWEST LLC                                                                         XX-XXXXXXX                                               Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      !   !
26 Property used more than 50% in a qualified business use:



                                      !   !
                                                          %



                                      !   !
                                                          %




                                                                                                                 PY
                                                     %



                                      !   !
27 Property used 50% or less in a qualified business use:



                                      !   !
                                                          %                                                          S/L -



                                      !   !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28




                                                                                               CO
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
                                                                           NT
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
                                                IE

   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                                              CL



                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2020 tax year:



                                                            ! !
43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43                     793,024.
44 Total. Add amounts in column (f). See the instructions for where to report                                            44                     793,024.
016252 12-18-20                                                                                                                                                    Form 4562 (2020)
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                                    Worksheet for Figuring Net Earnings (Loss) From Self-Employment

Name of partnership                                                                                                        Employer identification number


    SHURWEST LLC                                                                                                              XX-XXXXXXX
1 a Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                  1a   767,858.
  b Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                        1b
  c Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                   1c
  d Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
    amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       1d
  e Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1e
  f Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1f   767,858.
2 a Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                   2a




                                                                                                           PY
  b Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2b
  c Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2c
3 a Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
    on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3a   767,858.
  b Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
    organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~         3b     372,411.
                                                                                                                                      395,447.




                                                                                                 CO
  c Subtract line 3b from line 3a     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      3c
4 a Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
    as defined in section 1402(c) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4a
  b Part of line 4a allocated to individual limited partners for other than services and to
    estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~               4b
 c Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4c
5 Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a    5               395,447.
                                                                           NT
                                               IE
                                             CL




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04-01-20
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Section 1.263(a)-1(f) De Minimis Safe Harbor Election




Shurwest LLC
17550 N Perimeter Dr #300
Scottsdale, AZ 85255


Employer Identification Number:     XX-XXXXXXX


For the Year Ending December 31, 2020




                                                      PY
Shurwest LLC is making the de minimis safe harbor election under
Reg. Sec. 1.263(a)-1(f).




                                            CO
                                 NT
                  IE
                CL




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                  FOOTNOTES                      STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

SCHEDULE M-2 TAX CAPITAL 1/1/2020                                            -184,608.
SCHEDULE M-2 TAX CAPITAL 12/31/2020                                           580,317.


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                        OTHER INCOME                    STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}




                                                          PY
OTHER INCOME                                                                3,150,000.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 7                                                  3,150,000.
                                                                        ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




                                                CO
FORM 1065                        TAX EXPENSE                     STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
CALIFORNIA TAXES - BASED ON INCOME                                              3,569.
LICENSE & PERMITS                                                               2,275.
TEXAS TAXES - BASED ON INCOME                                                   1,174.
                                     NT
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 14                                                     7,018.
                                                                        ~~~~~~~~~~~~~~
                       IE
                     CL




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                      OTHER DEDUCTIONS                  STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
ADVERTISING                                                                   135,675.
AGENT EXPENSES                                                              1,120,596.
AMORT. EXP. ON SCH K LINE 13V                                                -793,024.
AMORTIZATION EXPENSE                                                          793,024.
BANK FEES                                                                          925.
COMMUNICATIONS EXPENSE                                                          6,617.
COMPUTER & EQUIPMENT                                                            7,804.
CRM                                                                            42,051.




                                                          PY
DUES & SUBSCRIPTIONS                                                            8,886.
INSURANCE                                                                       4,273.
LEASED EMPLOYEES                                                              123,201.
LEGAL & OTHER PROFESSIONAL FEES                                             3,269,154.
MANAGEMENT FEES                                                                 3,017.
MEALS                                                                           1,748.




                                                CO
OFFICE EXPENSES                                                                11,142.
POSTAGE & DELIVERY                                                              5,738.
PRINTING & REPRODUCTION                                                         1,810.
PROVISION FOR ADVISOR ROLLUPS                                                 554,392.
RECRUITING & TRAINING                                                          11,390.
TRAVEL                                                                             225.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 20                                                 5,308,644.
                                     NT
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K                     INTEREST INCOME                   STATEMENT 5
                       IE

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DESCRIPTION                                             U.S. BONDS          OTHER
}}}}}}}}}}}                                           }}}}}}}}}}}}}}    }}}}}}}}}}}}}}
                     CL


INTEREST INCOME                                                                   857.
                                                      }}}}}}}}}}}}}}    }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 5                                                       857.
                                                      ~~~~~~~~~~~~~~    ~~~~~~~~~~~~~~

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SCHEDULE K                 CHARITABLE CONTRIBUTIONS              STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                             TYPE              AMOUNT
}}}}}}}}}}}                                    }}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}
CHARITABLE CONTRIBUTIONS                       CASH (60%)                      325.
                                                                       }}}}}}}}}}}}
TOTALS TO SCHEDULE K, LINE 13A                                                 325.
                                                                       ~~~~~~~~~~~~




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE K                    OTHER DEDUCTIONS                   STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
SECTION 743(B) NEGATIVE ADJUSTMENTS                                           793,024.
                                                                        }}}}}}}}}}}}}}
TOTAL INCLUDED IN SCHEDULE K, LINE 13D                                        793,024.
                                                                        ~~~~~~~~~~~~~~


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SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT 8




                                                          PY
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DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                       1,748.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 18C                                                   1,748.




                                                CO
                                                                        ~~~~~~~~~~~~~~


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SCHEDULE K                       OTHER ITEMS                     STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
                                     NT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
SECTION 199A - ORDINARY INCOME (LOSS)                                         767,858.
SECTION 199A UNADJUSTED BASIS OF ASSETS                                     1,950,193.
BUSINESS INTEREST EXPENSE                                                      53,468.
                       IE


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                     CL



SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ANNUITY INCOME RECEIVABLE                                     84,513.        41,685.
DUE FROM EMPLOYEES                                            11,768.        21,804.
DUE FROM RELATED PARTIES                                      13,289.        20,738.
LIFE INSURANCE INCOME RECEIVABLE                               7,156.           168.
OTHER RECEIVABLES                                             91,423.       134,245.
PARETO RECEIVABLE                                            100,000.              0.
PREPAID EXPENSES                                              19,887.        99,077.
UNDEPOSITED FUNDS                                                  0.           800.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                  328,036.       318,517.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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                                                                               Desc
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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE L                      OTHER ASSETS                     STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                             26,650.        26,650.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 13                                  26,650.        26,650.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


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                                                          PY
SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                        BEGINNING OF    END OF TAX
DESCRIPTION                                               TAX YEAR         YEAR
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED EXPENSES                                              48,951.        18,222.




                                                CO
ACCRUED INTEREST                                                 699.              0.
ACCRUED RENT                                                  59,667.        37,970.
PROVISION FOR ADVISOR ROLL UPS                             1,063,630.     2,441,848.
SALES TAX PAYABLE                                                  9.            12.
STATE TAX PAYABLE                                              3,637.              0.
                                                       }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 17                               1,176,593.     2,498,052.
                                                       ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
                                      NT
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                       IE

SCHEDULE M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN   STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
                     CL



PROVISION FOR ADVISOR ROLLUPS                                               1,378,218.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 4                                               1,378,218.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE M-1    DEDUCTIONS ON RETURN NOT CHARGED AGAINST BOOKS   STATEMENT 14
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
RENT EXPENSE                                                                   21,697.
AMORTIZATION                                                                  793,024.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 7                                                 814,721.
                                                                        ~~~~~~~~~~~~~~




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE M-2                   OTHER DECREASES                   STATEMENT 15
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
CONVERSION TO TAX CAPITAL FOR KT EQUITY PARTNERS III, LLC                    3,698,764.
CONVERSION TO TAX CAPITAL FOR SHURWEST HOLDING COMPANY INC                   7,119,905.
CONVERSION TO TAX CAPITAL FOR RLS CAPITAL HOLDINGS LLLP                      3,864,563.
                                                                         }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 7                                               14,683,232.
                                                                         ~~~~~~~~~~~~~~




                                                           PY
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SCHEDULES M-2/L RECONCILIATION OF SCHEDULE M-2 AND SCHEDULE L    STATEMENT 16

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                                                  BALANCE AT
                                                  BEGINNING      BALANCE AT
DESCRIPTION                                       OF THE YEAR    END OF YEAR




                                                 CO
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SCHEDULE M-2 BALANCES                               14,498,624.        580,317.
CONVERSION TO TAX CAPITAL                                          14,683,232.
ACCUMULATED DEPRECIATION                                             -286,675.
ACCRUED EXPENSES                                                   -1,356,520.

                                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL RECONCILED SCHEDULE M-2 BALANCES                     14,498,624.    13,620,354.
                                      NT
                                                        ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
SCHEDULE L, LINE 21, PARTNERS' CAPITAL ACCOUNTS            14,498,624.    13,620,354.
                                                        ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
                        IE
                      CL




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        KT EQUITY PARTNERS
               CASE          III, LLC
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                                                                                                                                                                                                  651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                   2020
                                                                       For calendar year 2020, or tax year
                                                                                                                                  Final K-1                       Amended K-1
                                                                                                                        Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

Internal Revenue Service                                                                                                         Deductions, Credits, and Other Items
                             beginning                                 ending                                   1 Ordinary business income (loss)                       15 Credits
Partner's Share of Income, Deductions,                                                                                                          191,965.
Credits, etc.                          | See separate instructions.                                             2               Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                              16 Foreign transactions
  A Partnership's employer identification number                                                                3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                   4a                 Guaranteed payments for services


  SHURWEST LLC                                                                                               4b Guaranteed payments for capital
  17550 N PERIMETER DR #300




                                                                                                                                                  PY
  SCOTTSDALE, AZ 85255                                                                                       4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                         17 Alternative min tax (AMT) items
  E-FILE                                                                                                        5 Interest income
  D             Check if this is a publicly traded partnership (PTP)                                                                                        214.
   Part II          Information About the Partner                                                            6a Ordinary dividends




                                                                                                             CO
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                    18 Tax-exempt income and
                                                                                                             6b Qualified dividends                                         nondeductible expenses

  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                               C*                         437.
                                                                                                             6c Dividend equivalents
  KT EQUITY PARTNERS III, LLC
  2950 SW MCCLURE ROAD                                                                                          7 Royalties                                             19 Distributions
  TOPEKA, KS 66614                                                                                                                                                     A                          429.
  G   General partner or LLC X Limited partner or other LLC                                                     8 Net short-term capital gain (loss)
                member-manager                                         member
                                                                                    NT
                                                                                                                                                                        20 Other information
  H1 X Domestic partner                                                Foreign partner                       9a Net long-term capital gain (loss)                      A                          214.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                      N *                     13,367.
       TIN                               Name                                                                9b Collectibles (28%) gain (loss)                         Z *                        STMT
  I1 What type of entity is this partner?         PARTNERSHIP                                                                                                          AH *                       STMT
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
                                                    IE

  J Partner's share of profit, loss, and capital:
                     Beginning                                              Ending                           10 Net section 1231 gain (loss)
       Profit               25.0000000 %                                    25.0000000 %
       Loss                 25.0000000 %                                    25.0000000 %                     11 Other income (loss)
       Capital              24.1913405 %                                    24.1913405 %
                                                  CL



       Check if decrease is due to sale or exchange of partnership interest            ~~~~
  K Partner's share of liabilities:
                                             Beginning                               Ending                  12 Section 179 deduction
       Nonrecourse  $                         60,284. $                             231,961.
       Qualified nonrecourse                                                                                 13 Other deductions
       financing  $                                            $                                      A                                          81.
       Recourse  $                                       0. $                                      0. V                                     276,000.
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis                                              14 Self-employment earnings (loss)
                 SEE STATEMENT                                                              A                                                191,965.
       Beginning capital account ~~~~~~~~~~ $                                    3,492,448. C                                              1,549,476.
       Capital contributed during the year ~~~~~~~ $                                                         21                         More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~ $                                  191,661. 22     More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~ $                      -3,698,764. *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~ $ (                                      429.)
                                                                                   -15,084.
                                                                                                             For IRS Use Only




       Ending capital account        ~~~~~~~~~~~ $
  M Did the partner contribute property with a built-in gain or loss?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~~ $
      Ending  $
           Case
011261 01-05-21 LHA2:21-bk-06723-DPC                  Doc
                     For Paperwork Reduction Act Notice,     1 Filed
                                                         see Instructions for 08/31/21
                                                                              Form 1065.  Entered 08/31/21
                                                                                         www.irs.gov/Form1065                                                          11:12:09
                                                                                                                                                                          Schedule K-1Desc
                                                                                                                                                                                      (Form 1065)       2020
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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
EXCLUDED MEALS AND                  NONDEDUCTIBLE PORTION
ENTERTAINMENT EXPENSES                                                            437.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                             437.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N




                                                          PY
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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
BUSINESS INTEREST EXPENSE           SEE PARTNERS INSTRUCTIONS
(INCLUDED IN ORDINARY BUSINESS
INCOME (LOSS))                                                                 13,367.




                                                CO
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                          13,367.
                                                                        ~~~~~~~~~~~~~~


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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                     NT
DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}

TRADE OR BUSINESS -
                        IE

   ORDINARY INCOME (LOSS)                                                     191,965.
   SELF-EMPLOYMENT EARNINGS(LOSS)                                             191,965.
   UNADJUSTED BASIS OF ASSETS                                                 487,548.
                      CL




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCH K-1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
STATEMENT.

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SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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                                                          PY
DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
TAX CAPITAL 1/1/20                                                           -206,316.
TAX CAPITAL 12/31/20                                                          -15,084.




                                                CO
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                AMOUNT         TOTALS
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                       191,965.
                                     NT
INTEREST INCOME                                                  214.
                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                           192,179.

CHARITABLE CONTRIBUTIONS                                         -81.
NONDEDUCTIBLE EXPENSES                                          -437.
                         IE

                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                            -518.
                                                                        }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                            191,661.
                       CL


                                                                        ~~~~~~~~~~~~~~

CONVERSION TO TAX CAPITAL FOR KT EQUITY PARTNERS                           -3,698,764.
III, LLC
                                                                        }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                         -3,698,764.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 BEGINNING CAPITAL ACCOUNT METHOD USED - TAX BASIS




     Case 2:21-bk-06723-DPC                                              PARTNER
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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE K-1                      FOOTNOTES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NOTE: YOUR INCOME/(LOSS) MAY BE SUBJECT TO NET INVESTMENT
INCOME TAX. PLEASE CONSULT YOUR TAX ADVISOR.

ELECTRONIC INSTRUCTIONS FOR SCHEDULE K-1 HAVE BEEN PROVIDED
AT HTTPS://WWW.EIDEBAILLY.COM/SERVICES/TAX#TOOLS

THE FOLLOWING INFORMATION IS BEING PROVIDED TO ASSIST WITH
THE CALCULATION OF THE INTEREST EXPENSE LIMITATION UNDER IRS
CODE SECTION 163(J), IF APPLICABLE. PLEASE CONSULT YOUR
TAX ADVISOR.




                                                            PY
PARTNER'S SHARE OF ADJUSTED TAXABLE INCOME                                      208,419.
PARTNER'S SHARE OF BUSINESS INTEREST INCOME                                         214.




                                                  CO
TOTAL ANNUAL GROSS RECEIPTS OF PARTNERSHIP:

2017                                                                          1,689,132.
2018                                                                         21,112,358.
2019                                                                          7,499,558.
                                       NT
A PARTNER'S PERCENTAGE INTEREST IN THE TOTAL GROSS
RECEIPTS CAN BE DETERMINED BY REFERRING TO ITEM J OF THE
PARTNER'S SCHEDULE K-1 FOR EACH APPLICABLE YEAR.
                         IE

SECTION 743 REMAINING UNAMORTIZED BASIS                                        2,593,756.
                       CL




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        SHURWEST HOLDING
               CASE       COMPANY, INC.
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                                                                                                                                                                                                  651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                   2020
                                                                       For calendar year 2020, or tax year
                                                                                                                                  Final K-1                       Amended K-1
                                                                                                                        Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

Internal Revenue Service                                                                                                         Deductions, Credits, and Other Items
                             beginning                                 ending                                   1 Ordinary business income (loss)                       15 Credits
Partner's Share of Income, Deductions,                                                                                                          372,411.
Credits, etc.                          | See separate instructions.                                             2               Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                              16 Foreign transactions
  A Partnership's employer identification number                                                                3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                   4a                 Guaranteed payments for services


  SHURWEST LLC                                                                                               4b Guaranteed payments for capital
  17550 N PERIMETER DR #300




                                                                                                                                                  PY
  SCOTTSDALE, AZ 85255                                                                                       4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                         17 Alternative min tax (AMT) items
  E-FILE                                                                                                        5 Interest income
  D             Check if this is a publicly traded partnership (PTP)                                                                                        416.
   Part II          Information About the Partner                                                            6a Ordinary dividends




                                                                                                             CO
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                    18 Tax-exempt income and
                                                                                                             6b Qualified dividends                                         nondeductible expenses

  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                               C*                         848.
                                                                                                             6c Dividend equivalents
  SHURWEST HOLDING COMPANY, INC.
  17550 N. PERIMETER DRIVE, STE. 300                                                                            7 Royalties                                             19 Distributions
  SCOTTSDALE, AZ 85255                                                                                                                                                 A                          833.
  G   General partner or LLC X Limited partner or other LLC                                                     8 Net short-term capital gain (loss)
                member-manager                                         member
                                                                                    NT
                                                                                                                                                                        20 Other information
  H1 X Domestic partner                                                Foreign partner                       9a Net long-term capital gain (loss)                      A                          416.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                      N *                     25,932.
       TIN                               Name                                                                9b Collectibles (28%) gain (loss)                         Z *                        STMT
  I1 What type of entity is this partner?         CORPORATION                                                                                                          AH *                       STMT
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
                                                    IE

  J Partner's share of profit, loss, and capital:
                     Beginning                                              Ending                           10 Net section 1231 gain (loss)
       Profit               48.5000000 %                                    48.5000000 %
       Loss                 48.5000000 %                                    48.5000000 %                     11 Other income (loss)
       Capital              48.4946453 %                                    48.4946453 %
                                                  CL



       Check if decrease is due to sale or exchange of partnership interest            ~~~~
  K Partner's share of liabilities:
                                             Beginning                               Ending                  12 Section 179 deduction
       Nonrecourse  $                        116,951. $                             450,004.
       Qualified nonrecourse                                                                                 13 Other deductions
       financing  $                                            $                                         A                                              158.
       Recourse  $                                       0. $                                      0.
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis                                              14 Self-employment earnings (loss)
                 SEE STATEMENT
       Beginning capital account ~~~~~~~~~~ $                                    7,030,112.
       Capital contributed during the year ~~~~~~~ $                                                         21                         More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~ $                                  371,821. 22     More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~ $                      -7,119,905. *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~ $ (                                      833.)
                                                                                   281,195.
                                                                                                             For IRS Use Only




       Ending capital account        ~~~~~~~~~~~ $
  M Did the partner contribute property with a built-in gain or loss?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~~ $
      Ending  $
           Case
011261 01-05-21 LHA2:21-bk-06723-DPC                  Doc
                     For Paperwork Reduction Act Notice,     1 Filed
                                                         see Instructions for 08/31/21
                                                                              Form 1065.  Entered 08/31/21
                                                                                         www.irs.gov/Form1065                                                          11:12:09
                                                                                                                                                                          Schedule K-1Desc
                                                                                                                                                                                      (Form 1065)       2020
                                                                Main Document                            Page 34 of 70                                                                                  2
          CASE 0:18-cv-03025-JNE-ECW Doc. 263 Filed 08/31/21 Page 37 of 72
SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
EXCLUDED MEALS AND                  NONDEDUCTIBLE PORTION
ENTERTAINMENT EXPENSES                                                            848.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                             848.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N




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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
BUSINESS INTEREST EXPENSE           SEE PARTNERS INSTRUCTIONS
(INCLUDED IN ORDINARY BUSINESS
INCOME (LOSS))                                                                 25,932.




                                                CO
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                          25,932.
                                                                        ~~~~~~~~~~~~~~


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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                     NT
DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}

TRADE OR BUSINESS -
                        IE

   ORDINARY INCOME (LOSS)                                                     372,411.
   UNADJUSTED BASIS OF ASSETS                                                 945,844.
                      CL




     Case 2:21-bk-06723-DPC                                              PARTNER
                               Doc 1 Filed 08/31/21 Entered 08/31/21 11:12:09    NUMBER 2
                                                                               Desc
                              Main Document    Page 35 of 70
          CASE 0:18-cv-03025-JNE-ECW Doc. 263 Filed 08/31/21 Page 38 of 72
SHURWEST LLC                                                        XX-XXXXXXX
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SCH K-1
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THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
STATEMENT.

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SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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                                                          PY
DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
TAX CAPITAL 1/1/20                                                            -89,793.
TAX CAPITAL 12/31/20                                                          281,195.




                                                CO
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                AMOUNT         TOTALS
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                       372,411.
                                     NT
INTEREST INCOME                                                  416.
                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                           372,827.

CHARITABLE CONTRIBUTIONS                                        -158.
NONDEDUCTIBLE EXPENSES                                          -848.
                         IE

                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                          -1,006.
                                                                        }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                            371,821.
                       CL


                                                                        ~~~~~~~~~~~~~~

CONVERSION TO TAX CAPITAL FOR SHURWEST HOLDING                             -7,119,905.
COMPANY INC
                                                                        }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                         -7,119,905.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 BEGINNING CAPITAL ACCOUNT METHOD USED - TAX BASIS




     Case 2:21-bk-06723-DPC                                              PARTNER
                               Doc 1 Filed 08/31/21 Entered 08/31/21 11:12:09    NUMBER 2
                                                                               Desc
                              Main Document    Page 36 of 70
            CASE 0:18-cv-03025-JNE-ECW Doc. 263 Filed 08/31/21 Page 39 of 72
SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE K-1                      FOOTNOTES
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NOTE: YOUR INCOME/(LOSS) MAY BE SUBJECT TO NET INVESTMENT
INCOME TAX. PLEASE CONSULT YOUR TAX ADVISOR.

ELECTRONIC INSTRUCTIONS FOR SCHEDULE K-1 HAVE BEEN PROVIDED
AT HTTPS://WWW.EIDEBAILLY.COM/SERVICES/TAX#TOOLS

THE FOLLOWING INFORMATION IS BEING PROVIDED TO ASSIST WITH
THE CALCULATION OF THE INTEREST EXPENSE LIMITATION UNDER IRS
CODE SECTION 163(J), IF APPLICABLE. PLEASE CONSULT YOUR
TAX ADVISOR.




                                                            PY
PARTNER'S SHARE OF ADJUSTED TAXABLE INCOME                                      404,331.
PARTNER'S SHARE OF BUSINESS INTEREST INCOME                                         416.




                                                  CO
TOTAL ANNUAL GROSS RECEIPTS OF PARTNERSHIP:

2017                                                                          1,689,132.
2018                                                                         21,112,358.
2019                                                                          7,499,558.
                                       NT
A PARTNER'S PERCENTAGE INTEREST IN THE TOTAL GROSS
RECEIPTS CAN BE DETERMINED BY REFERRING TO ITEM J OF THE
PARTNER'S SCHEDULE K-1 FOR EACH APPLICABLE YEAR.
                         IE
                       CL




       Case 2:21-bk-06723-DPC                                              PARTNER
                                 Doc 1 Filed 08/31/21 Entered 08/31/21 11:12:09    NUMBER 2
                                                                                 Desc
                                Main Document    Page 37 of 70
        RLS CAPITAL HOLDINGS LLLP
               CASE 0:18-cv-03025-JNE-ECW                                                   Doc. 263 Filed 08/31/21 Page 40 of 72

                                                                                                                                                                                                  651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                   2020
                                                                       For calendar year 2020, or tax year
                                                                                                                                  Final K-1                       Amended K-1
                                                                                                                        Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

Internal Revenue Service                                                                                                         Deductions, Credits, and Other Items
                             beginning                                 ending                                   1 Ordinary business income (loss)                       15 Credits
Partner's Share of Income, Deductions,                                                                                                          203,482.
Credits, etc.                          | See separate instructions.                                             2               Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                              16 Foreign transactions
  A Partnership's employer identification number                                                                3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                   4a                 Guaranteed payments for services


  SHURWEST LLC                                                                                               4b Guaranteed payments for capital
  17550 N PERIMETER DR #300




                                                                                                                                                  PY
  SCOTTSDALE, AZ 85255                                                                                       4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                         17 Alternative min tax (AMT) items
  E-FILE                                                                                                        5 Interest income
  D             Check if this is a publicly traded partnership (PTP)                                                                                        227.
   Part II          Information About the Partner                                                            6a Ordinary dividends




                                                                                                             CO
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)                                                                                    18 Tax-exempt income and
                                                                                                             6b Qualified dividends                                         nondeductible expenses

  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                               C*                         463.
                                                                                                             6c Dividend equivalents
  RLS CAPITAL HOLDINGS LLLP
  16767 N. PERIMETER DRIVE, STE. 320                                                                            7 Royalties                                             19 Distributions
  SCOTTSDALE, AZ 85260                                                                                                                                                 A                          455.
  G   General partner or LLC X Limited partner or other LLC                                                     8 Net short-term capital gain (loss)
                member-manager                                         member
                                                                                    NT
                                                                                                                                                                        20 Other information
  H1 X Domestic partner                                                Foreign partner                       9a Net long-term capital gain (loss)                      A                          227.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                      N *                     14,169.
       TIN                               Name                                                                9b Collectibles (28%) gain (loss)                         Z *                        STMT
  I1 What type of entity is this partner?         PARTNERSHIP                                                                                                          AH *                       STMT
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
                                                    IE

  J Partner's share of profit, loss, and capital:
                     Beginning                                              Ending                           10 Net section 1231 gain (loss)
       Profit               26.5000000 %                                    26.5000000 %
       Loss                 26.5000000 %                                    26.5000000 %                     11 Other income (loss)
       Capital              27.3140142 %                                    27.3140142 %
                                                  CL



       Check if decrease is due to sale or exchange of partnership interest            ~~~~
  K Partner's share of liabilities:
                                             Beginning                               Ending                  12 Section 179 deduction
       Nonrecourse  $                         63,901. $                             245,878.
       Qualified nonrecourse                                                                                 13 Other deductions
       financing  $                                            $                                      A                                          86.
       Recourse  $                          650,699. $                                             0. V                                     517,024.
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis                                              14 Self-employment earnings (loss)
                 SEE STATEMENT                                                              A                                                203,482.
       Beginning capital account ~~~~~~~~~~ $                                    3,976,064. C                                              1,642,445.
       Capital contributed during the year ~~~~~~~ $                                                         21                         More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~ $                                  203,160. 22     More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~ $                      -3,864,563. *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~ $ (                                      455.)
                                                                                   314,206.
                                                                                                             For IRS Use Only




       Ending capital account        ~~~~~~~~~~~ $
  M Did the partner contribute property with a built-in gain or loss?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~~ $
      Ending  $
           Case
011261 01-05-21 LHA2:21-bk-06723-DPC                  Doc
                     For Paperwork Reduction Act Notice,     1 Filed
                                                         see Instructions for 08/31/21
                                                                              Form 1065.  Entered 08/31/21
                                                                                         www.irs.gov/Form1065                                                          11:12:09
                                                                                                                                                                          Schedule K-1Desc
                                                                                                                                                                                      (Form 1065)       2020
                                                                Main Document                            Page 38 of 70                                                                                  4
          CASE 0:18-cv-03025-JNE-ECW Doc. 263 Filed 08/31/21 Page 41 of 72
SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
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EXCLUDED MEALS AND                  NONDEDUCTIBLE PORTION
ENTERTAINMENT EXPENSES                                                            463.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                             463.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N




                                                          PY
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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
BUSINESS INTEREST EXPENSE           SEE PARTNERS INSTRUCTIONS
(INCLUDED IN ORDINARY BUSINESS
INCOME (LOSS))                                                                 14,169.




                                                CO
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                          14,169.
                                                                        ~~~~~~~~~~~~~~


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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                     NT
DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}

TRADE OR BUSINESS -
                        IE

   ORDINARY INCOME (LOSS)                                                     203,482.
   SELF-EMPLOYMENT EARNINGS(LOSS)                                             203,482.
   UNADJUSTED BASIS OF ASSETS                                                 516,801.
                      CL




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                               Doc 1 Filed 08/31/21 Entered 08/31/21 11:12:09    NUMBER 4
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                              Main Document    Page 39 of 70
          CASE 0:18-cv-03025-JNE-ECW Doc. 263 Filed 08/31/21 Page 42 of 72
SHURWEST LLC                                                        XX-XXXXXXX
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SCH K-1
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THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
STATEMENT.

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SCHEDULE K-1           OTHER INFORMATION, BOX 20, CODE AH
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                                                          PY
DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
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TAX CAPITAL 1/1/20                                                            111,501.
TAX CAPITAL 12/31/20                                                          314,206.




                                                CO
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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                AMOUNT         TOTALS
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                       203,482.
                                     NT
INTEREST INCOME                                                  227.
                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                           203,709.

CHARITABLE CONTRIBUTIONS                                         -86.
NONDEDUCTIBLE EXPENSES                                          -463.
                         IE

                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                            -549.
                                                                        }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                            203,160.
                       CL


                                                                        ~~~~~~~~~~~~~~

CONVERSION TO TAX CAPITAL FOR RLS CAPITAL                                  -3,864,563.
HOLDINGS LLLP
                                                                        }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                         -3,864,563.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 BEGINNING CAPITAL ACCOUNT METHOD USED - TAX BASIS




     Case 2:21-bk-06723-DPC                                              PARTNER
                               Doc 1 Filed 08/31/21 Entered 08/31/21 11:12:09    NUMBER 4
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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1                      FOOTNOTES
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NOTE: YOUR INCOME/(LOSS) MAY BE SUBJECT TO NET INVESTMENT
INCOME TAX. PLEASE CONSULT YOUR TAX ADVISOR.

ELECTRONIC INSTRUCTIONS FOR SCHEDULE K-1 HAVE BEEN PROVIDED
AT HTTPS://WWW.EIDEBAILLY.COM/SERVICES/TAX#TOOLS

THE FOLLOWING INFORMATION IS BEING PROVIDED TO ASSIST WITH
THE CALCULATION OF THE INTEREST EXPENSE LIMITATION UNDER IRS
CODE SECTION 163(J), IF APPLICABLE. PLEASE CONSULT YOUR
TAX ADVISOR.




                                                            PY
PARTNER'S SHARE OF ADJUSTED TAXABLE INCOME                                      220,924.
PARTNER'S SHARE OF BUSINESS INTEREST INCOME                                         227.




                                                  CO
TOTAL ANNUAL GROSS RECEIPTS OF PARTNERSHIP:

2017                                                                          1,689,132.
2018                                                                         21,112,358.
2019                                                                          7,499,558.
                                       NT
A PARTNER'S PERCENTAGE INTEREST IN THE TOTAL GROSS
RECEIPTS CAN BE DETERMINED BY REFERRING TO ITEM J OF THE
PARTNER'S SCHEDULE K-1 FOR EACH APPLICABLE YEAR.
                         IE

SECTION 743 REMAINING UNAMORTIZED BASIS                                        6,247,379.
                       CL




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                                                    IRS e-file Signature Authorization
       8879-PE
                                                                                                                                         OMB No. 1545-0123

Form
                                                               for Form 1065
Department of the Treasury
Internal Revenue Service
                                                   | ERO must obtain and retain completed Form 8879-PE.
                                                  | Go to www.irs.gov/Form8879PE for the latest information.
                                                                                                                                            2019
                                  For calendar year 2019, or tax year beginning         , 2019, ending                ,20      .
Name of partnership                                                                                                         Employer identification number
                      SHURWEST LLC                                                                                          XX-XXXXXXX
 Part I            Tax Return Information               (Whole dollars only)
  1 Gross receipts or sales less returns and allowances (Form 1065, line 1c) ~~~~~~~~~~~~~~~~~~~                                   1        7,497,900.
  2 Gross profit (Form 1065, line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       2        7,497,900.
  3 Ordinary business income (loss) (Form 1065, line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3          271,858.
  4 Net rental real estate income (loss) (Form 1065, Schedule K, line 2) ~~~~~~~~~~~~~~~~~~~~~~                                    4
  5 Other net rental income (loss) (Form 1065, Schedule K, line 3c)                                        5
 Part II           Declaration and Signature Authorization of Partner or Member
                   (Be sure to get a copy of the partnership's return)




                                                                                                          PY
Under penalties of perjury, I declare that I am a partner or member of the above partnership and that I have examined a copy of the partnership's 2019
electronic return of partnership income and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct,
and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the partnership's electronic return of
partnership income. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to send the partnership's
return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the transmission and (b) the reason for any
delay in processing the return. I have selected a personal identification number (PIN) as my signature for the partnership's electronic return of




                                                                                       CO
partnership income.

Partner or Member's PIN: check one box only

       X I authorize EIDE BAILLY LLP                                                                                   to enter my PIN
                                                              ERO firm name                                                              Don't enter all zeros
             as my signature on the partnership's 2019 electronically filed return of partnership income.
             As a partner or member of the partnership, I will enter my PIN as my signature on the partnership's 2019 electronically filed
                                                                                  NT
             return of partnership income.
Partner or member's signature |
Title |     MANAGING MEMBER                                                                                                        Date |

 Part III          Certification and Authentication
                                              IE

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                    Don't enter all zeros
I certify that the above numeric entry is my PIN, which is my signature on the 2019 electronically filed return of partnership income for the partnership
indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation,
and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.
                                            CL



ERO's signature |                                                                                        Date |    07/13/20

                                             ERO Must Retain This Form - See Instructions
                                     Don't Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice, see instructions.                                                                                  Form 8879-PE (2019)
LHA




921031 01-13-20
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Form
        7004
(Rev. December 2018)
                                            Application for Automatic Extension of Time To File Certain
                                              Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
Department of the Treasury                               | File a separate application for each return.
Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.
                  Name                                                                                                                                 Identifying number


Print             SHURWEST LLC                                                                                                                            XX-XXXXXXX
                  Number, street, and room or suite no. (If P.O. box, see instructions.)
or
Type              17550 N PERIMETER DR #300
                  City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                  SCOTTSDALE, AZ                        85255
Note: File request for extension by the due date of the return. See instructions before completing this form.
 Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
1  Enter the form code for the return listed below that this application is for  09




                                                                                                                         PY
Application                                                                      Form         Application                                                                   Form
Is For:                                                                          Code         Is For:                                                                       Code
Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23




                                                                                                    CO
Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
Form 1041-N                                                                        06         Form 1120S                                                                         25
Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
Form 1042                                                                          08         Form 3520-A                                                                        27
Form 1065                                                                          09         Form 8612                                                                          28
Form 1066                                                                          11         Form 8613                                                                          29
Form 1120                                                                          12         Form 8725                                                                          30
Form 1120-C                                                                        34         Form 8804                                                                          31
                                                                              NT
Form 1120-F                                                                        15         Form 8831                                                                          32
Form 1120-FSC                                                                      16         Form 8876                                                                          33
Form 1120-H                                                                        17         Form 8924                                                                          35
Form 1120-L                                                                        18         Form 8928                                                                          36
Form 1120-ND                                                                       19
 Part II       All Filers Must Complete This Part
                                                 IE

2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
       check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
       check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
       If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
                                               CL



       covered by this application.
4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
5 a The application is for calendar year 2019 , or tax year beginning                                                          , and ending
  b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
             Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7


8 Balance due. Subtract line 7 from line 6. See instructions                                                            8
LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)

                                                   DEPARTMENT OF THE TREASURY
                                                   INTERNAL REVENUE SERVICE CENTER
                                                   OGDEN, UT 84201-0045




919741 04-01-19
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                                                                              EXTENSION GRANTED TO 09/15/20
Form
                                                 1065                                               U.S. Return of Partnership Income                                                                                       OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                                              For calendar year 2019, or tax year beginning                             ,
                                                                                           | Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                        , ending                   ,                .
                                                                                                                                                                                                                               2019
A                                               Principal business activity                   Name of partnership                                                                                                       D   Employer identification
                                                                                                                                                                                                                            number

INSURANCE                                                                                  SHURWEST LLC                                                                                                                  XX-XXXXXXX
                                                                                    Type Number, street, and room or suite no. If a P.O. box, see instructions.
B                                       Principal product or service                 or                                                                                                                                 E   Date business started
                                                                                    Print 17550 N PERIMETER DR #300                                                                                                      04/30/1992
SALES                                                                                        City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                        F   Total assets

C                                       Business code number
524210                                                                                     SCOTTSDALE                                                                                   AZ 85255                        $16,517,393.
G                                               Check applicable boxes:   (1)       Initial return  (2)       Final return     (3)        Name change (4)                                    Address change (5)                  Amended return
H                                               Check accounting method: (1)        Cash            (2)  X Accrual             (3)        Other (specify) |
I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year     |                                            3




                                                                                                                                                                                       PY
J                                               Check if Schedules C and M-3 are attached  |
K    Check if partnership: (1)       Aggregated activities for section 465 at-risk purposes (2)    Grouped activities for section 469 passive activity purposes
  Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1a     7,497,900.
                                                      b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~            1b
                                                      c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          1c              7,497,900.




                                                                                                                                                            CO
                                                  2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2
                                                                                                                                                                                                                            7,497,900.
   Income




                                                  3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
                                                  4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                 4
                                                  5     Net farm profit (loss) (attach Schedule F (Form 1040 or 1040-SR)) ~~~~~~~~~~~~~~~~~~~~~                                                                5
                                                  6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                              6
                                                  7     Other income (loss) (attach statement)  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             7
                                                  8     Total income (loss). Combine lines 3 through 7                                                                           8            7,497,900.
                                                  9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                              9            1,822,186.
Deductions (see instructions for limitations)




                                                                                                                                  NT
                                                10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               10
                                                11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   11                              861.
                                                12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          12
                                                13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            13                   114,111.
                                                14                                                   SEE STATEMENT 1
                                                        Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     14                   145,083.
                                                15      Interest (see instructions)            15                                                                                           699.
                                                                                                                                99,428.
                                                                                                 IE

                                                16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a
                                                   b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b         16c                                                                                        99,428.
                                                17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       17
                                                18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18
                                                19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  19                128,851.
                                                                                               CL



                                                20                                                           SEE STATEMENT 2
                                                        Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             20              4,914,823.
                                                21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20                                                    21              7,226,042.
                                                22      Ordinary business income (loss). Subtract line 21 from line 8                                                                22                271,858.
                                                23      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                   23
   Tax and Payments




                                                24      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                       24
                                                25      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        25
                                                26      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26
                                                27      Total balance due. Add lines 23 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         27
                                                28      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 28
                                                29      Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                             29
                                                30      Overpayment. If line 28 is larger than line 27, enter overpayment                                                              30
                                                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                            and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                                        which preparer has any knowledge.


                                                              =                                                                                                               =
                                                                                                                                                                                                           May the IRS discuss this return with
Here                                                                                                                                                                                                       the preparer shown below?
                                                                   Signature of partner or limited liability company member                                                           Date                 See instr.
                                                                                                                                                                                                                               X Yes                No
                                                            Print/Type preparer's name                                Preparer's signature                                     Date           Check            if       PTIN
                                                           MACKENZIE RENTSCHLER MACKENZIE RENTSCHLER 07/13/20                                                                                 self-employed              P00739720
Paid                                                         Firm's name      |
Preparer                                                      EIDE BAILLY LLP                                                                                                                Firm's EIN    |
Use Only                                                     Firm's address |2355 E CAMELBACK RD, STE 900
                                                              PHOENIX, AZ 85016-9065                                                                                                         Phone no.     602-381-0381
        Case 2:21-bk-06723-DPC
LHA For Paperwork Reduction Act Notice, see separateDoc    1 Filed
                                                    instructions.                                                          08/31/21
                                                                                                                             911001 12-30-19 Entered 08/31/21 11:12:09                                                         Desc
                                                                                                                                                                                                                               Form 1065 (2019)
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Form 1065 (2019)      SHURWEST LLC                                                                                                   XX-XXXXXXX           Page 2
  Schedule B          Other Information
  1       What type of entity is filing this return? Check the applicable box:                                                                     Yes         No
      a       Domestic general partnership                             b         Domestic limited partnership
      c   X Domestic limited liability company                         d         Domestic limited liability partnership
      e       Foreign partnership                                      f         Other |
  2       At the end of the tax year:
      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
          exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
          loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
          B-1, Information on Partners Owning 50% or More of the Partnership             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               X
      b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
          the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
          on Partners Owning 50% or More of the Partnership                                                               X




                                                                                                                PY
  3       At the end of the tax year, did the partnership:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
          stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
          If "Yes," complete (i) through (iv) below                 X
                            (i) Name of Corporation                 (ii) Employer
                                                                                  (iii) Country of (iv) Percentage
                                                                                            Identification                                       Owned in
                                                                                           Number (if any)                Incorporation         Voting Stock




                                                                                              CO
      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
          or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
          interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below             X
                                                               (ii)                                                                     (v)
                                                                           NT
                    (i) Name of Entity                              Employer      (iii) Type of Entity              (iv) Country of         Maximum
                                                             Identification Number                                                           Percentage Owned in
                                                                      (if any)                                            Organization       Profit, Loss, or Capital
                                             IE

  4       Does the partnership satisfy all four of the following conditions?                                                                        Yes        No
      a   The partnership's total receipts for the tax year were less than $250,000.
      b   The partnership's total assets at the end of the tax year were less than $ 1 million.
      c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
                                           CL



          extensions) for the partnership return.
      d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 X
          If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
          or item L on Schedule K-1.
  5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                           X
  6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
          so as to reduce the principal amount of the debt?                                                              X
  7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?                                                                  X
  8       At any time during calendar year 2019, did the partnership have an interest in or a signature or other authority over
          a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
          See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
          Financial Accounts (FBAR). If "Yes," enter the name of the foreign country |                                                                          X
  9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
          transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
          Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                           X
10 a      Is the partnership making, or had it previously made (and not revoked), a section 754 election?            ~~~~~~~~~~~~~~~~                X
          See instructions for details regarding a section 754 election.
      b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
          attach a statement showing the computation and allocation of the basis adjustment. See instructions                                      X
911011 12-30-19                                                                                                                           Form 1065         (2019)
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Form 1065 (2019)        SHURWEST LLC                                                                                            XX-XXXXXXX          Page 3
  Schedule B            Other Information (continued)
     c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a                    Yes     No
         substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
         734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions                   X
11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a
         like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
         owned by the partnership throughout the tax year)       |
12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
         undivided interest in partnership property?                                                        X
13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
         Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
         instructions                                                   |
14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
                                                                                                                                                      X




                                                                                                          PY
         Information Statement of Section 1446 Withholding Tax, filed for this partnership       |
15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
         to this return                                                 |
16 a     Did you make any payments in 2019 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                        X
     b   If "Yes," did you or will you file required Form(s) 1099?                                          X
17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign




                                                                                        CO
         Corporations, attached to this return  |
18       Enter the number of partners that are foreign governments under section 892  |
19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
         and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                              X
20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
         for Form 8938                                                                        X
21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1T(b)(14)?                         X
22       During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed under
                                                                                                                                                      X
                                                                     NT
         section 267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
         If "Yes," enter the total amount of the disallowed deductions      | $
23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
         business in effect during the tax year? See instructions                                                 X
24       Does the partnership satisfy one or more of the following? See instructions      ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  X
     a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest
                                           IE

         expense.
     b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
         preceding the current tax year are more than $26 million and the partnership has business interest.
     c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
         If "Yes" to any, complete and attach Form 8990.
                                         CL



25       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions     ~~~~~~~              X
         If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
         line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    |
        If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR |        SHURWEST HOLDING COMPANY, INC.

                      =                                                                                           =
                           17550 N. PERIMETER DRIVE, STE. 30                                     U.S. phone
U.S. address of PR
                           SCOTTSDALE, AZ 85255                                                  number of PR         800-440-1088
If the PR is an entity, name of the designated individual for the PR | JIM MASCHEK



                  =                                                                                           =
                                                                                                 U.S. phone
U.S. address of                                                                                  number of
designated            17550 N. PERIMETER DRIVE, SUITE 300                                        designated
individual            SCOTTSDALE, AZ 85255                                                       individual         800-440-1088
26       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?       ~~~~~~~~~~~~~~~~~~~~~~                              X
         If "Yes," enter the amount from Form 8996, line 14                               |$
27       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
         interest in the partnership or of receiving a distribution from the partnership  |
28       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
         disclosure requirements of Regulations section 1.707-8?                                                 X
                                                                                                                                        Form 1065 (2019)
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Form 1065 (2019)                         SHURWEST LLC                                                                                    XX-XXXXXXX          Page 4
   Schedule K                            Partners' Distributive Share Items                                                                   Total amount
                           1     Ordinary business income (loss) (page 1, line 22)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                         1        271,858.
                           2     Net rental real estate income (loss) (attach Form 8825)                          2
                           3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                    3a
                             b Expenses from other rental activities (attach statement) ~~~~~~~          3b
                               c Other net rental income (loss). Subtract line 3b from line 3a                     3c
                                 Guaranteed
                           4     payments:      a Services   4a                                 b Capital 4b
                                 c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4c
     Income (Loss)




                           5                                               SEE STATEMENT 3
                                 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             5           1,658.
                           6     Dividends and dividend equivalents:       a Ordinary dividends                     6a
                                 b Qualified dividends 6b       c Dividend equivalents 6c
                           7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                7
                           8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                   8
                           9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                      9a




                                                                                                                      PY
                             b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                             c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                          10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            10
                          11     Other income (loss) (see instructions) Type |                                                          11
                          12     Section 179 deduction (attach Form 4562)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           12
     Deductions




                                                                              SEE STATEMENT 4
                          13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               13a        37,148.




                                                                                                      CO
                             b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         13b
                               c Section 59(e)(2) expenditures: (1) Type |                                              (2) Amount | 13c(2)
                             d Other deductions (see instructions) Type |            SEE STATEMENT 5                                    13d       793,024.
                          14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  14a       140,007.
 Employ-




                               b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    14b
 ment
 Self-




                               c Gross nonfarm income                                            14c   3,861,419.
                          15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               15a
                             b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     15b
     Credits




                                                                                        NT
                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~   15c
                               d Other rental real estate credits (see instructions) Type |                                             15d
                               e Other rental credits (see instructions)             Type |                                             15e
                               f Other credits (see instructions)                    Type |                                             15f
                          16 a Name of country or U.S. possession |                               ~~
                             b Gross income from all sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        16b
                                                               IE

                             c Gross income sourced at partner level ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    16c
                                 Foreign gross income sourced at partnership level
   Foreign Transactions




                               d Reserved for future use |                           e Foreign branch category ~~~~~~~~~ |              16e
                                 Passive
                               f category |                          g General category |                          h Other ~ |          16h
                                 Deductions allocated and apportioned at partner level
                                                             CL



                               i Interest expense |                                j Other ~~~~~~~~~~~~~~~~~~~                     |    16j
                                 Deductions allocated and apportioned at partnership level to foreign source income
                               k Reserved for future use |                               l Foreign branch category ~~~~~~~~~ |          16l
                                 Passive
                               m category |                                n General category |                        o Other ~ |      16o
                               p Total foreign taxes (check one): |                Paid          Accrued      ~~~~~~~~~~~~~~            16p
                               q Reduction in taxes available for credit (attach statement) ~~~~~~~~~~~~~~~~~~~~~~                      16q
                               r Other foreign tax information (attach statement) 
                          17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       17a
Minimum Tax
(AMT) Items




                            b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            17b
Alternative




                               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  17c
                               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                           17d
                               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                            17e
                               f Other AMT items (attach statement)                                    17f
                          18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         18a
                             b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           18b
    Other Information




                                                                                         SEE STATEMENT 6
                             c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18c         7,369.
                          19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              19a       873,320.
                             b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     19b
                          20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20a          1,658.
                               b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
                                                                                                STMT 7
                               c Other items and amounts (attach statement) 
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Form 1065 (2019) SHURWEST LLC                                                                                                                                 XX-XXXXXXX             Page 5
Analysis of Net Income (Loss)
1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 16p          1               -556,656.
2     Analysis by                                              (ii) Individual             (iii) Individual                                         (v) Exempt                   (vi)
                                 (i) Corporate                     (active)                    (passive)                (iv) Partnership           Organization             Nominee/Other
      partner type:
    a General partners
    b Limited partners            114,638.                                                                              -671,294.

    Schedule L              Balance Sheets per Books
                                                                                       Beginning of tax year                                              End of tax year
                           Assets
                                                                                 (a)                              (b)                             (c)                          (d)
    1 Cash ~~~~~~~~~~~~~~~~                                                                                     847,397.                                                      413,671.
    2a Trade notes and accounts receivable ~                                     57,609.                                                          28,819.
     b Less allowance for bad debts ~~~~                                                                          57,609.                                                      28,819.
    3 Inventories ~~~~~~~~~~~~~




                                                                                                                                       PY
    4 U.S. government obligations ~~~~~
    5 Tax-exempt securities ~~~~~~~~
    6 Other current assets (attach statement) ~                  STATEMENT 8                                    547,322.                                                      328,036.
    7a Loans to partners (or persons related to partners) ~
     b Mortgage and real estate loans ~~~
    8 Other investments (attach statement) ~
                                                                       1,910,800.                                                               1,992,653.




                                                                                                                CO
    9a Buildings and other depreciable assets
  b Less accumulated depreciation ~~~                                    744,025.                         1,166,775.                            1,102,186.                    890,467.
10a Depletable assets ~~~~~~~~~~
  b Less accumulated depletion ~~~~~
11 Land (net of any amortization) ~~~~
12a Intangible assets (amortizable only) ~~                          14,829,750.                                                           14,829,750.
  b Less accumulated amortization ~~~                                                                   14,829,750.                                                  14,829,750.
13 Other assets (attach statement) ~~~                           STATEMENT 9                                26,650.                                                      26,650.
                                                                                                        17,475,503.                                                  16,517,393.
                                                                                         NT
14 Total assets ~~~~~~~~~~~~~
        Liabilities and Capital
15 Accounts payable ~~~~~~~~~~                                                                                  395,860.                                                      192,176.
16      Mortgages, notes, bonds payable in less than 1 year

17 Other current liabilities (attach statement) ~                STATEMENT 10                                   636,033.                                               1,176,593.
18 All nonrecourse loans ~~~~~~~~
                                                                                                                                                                              650,000.
                                                        IE

19a     Loans from partners (or persons related to partners)

  b Mortgages, notes, bonds payable in 1 year or more
20 Other liabilities (attach statement) ~~
21 Partners' capital accounts ~~~~~~                 16,443,610.                                                                                                     14,498,624.
22 Total liabilities and capital               17,475,503.                                                                                                     16,517,393.
                                                      CL



 Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                Note: The partnership may be required to file Schedule M-3. See instructions.
 1      Net income (loss) per books ~~~~~~~                               -1,071,666. 6 Income recorded on books this year not included
 2      Income included on Schedule K, lines 1, 2, 3c,                                                        on Schedule K, lines 1 through 11 (itemize):
        5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                 a Tax-exempt interest $
        this year (itemize):
 3 Guaranteed payments (other than health                                                                7 Deductions included on Schedule K, lines 1
   insurance) ~~~~~~~~~~~~~~~~                                                                             through 13d, and 16p, not charged against
 4    Expenses recorded on books this year not included on                                                    book income this year (itemize):
      Schedule K, lines 1 through 13d, and 16p (itemize):                                                  a Depreciation $
        STMT 11                  1,069,354.                                                                    STMT 12                           814,722.                     814,722.
    a Depreciation $               258,733.                                                              8 Add lines 6 and 7 ~~~~~~~~~~~~                                     814,722.
    b Travel and entertainment $     1,645.
                                         1,329,732. 9 Income (loss) (Analysis of Net Income (Loss),
 5 Add lines 1 through 4         258,066.  line 1). Subtract line 8 from line 5                                                                            -556,656.
  Schedule M-2 Analysis of Partners' Capital Accounts
 1 Balance at beginning of year ~~~~~~~ 16,443,610. 6 Distributions: a Cash ~~~~~~~~~                                                                                         873,320.
 2 Capital contributed: a Cash ~~~~~~~                                                                                      b Property ~~~~~~~~
                        b Property ~~~~~~                                                                7 Other decreases (itemize):
 3 Net income (loss) per books ~~~~~~~                                    -1,071,666.
 4 Other increases (itemize):                                                                            8 Add lines 6 and 7 ~~~~~~~~~~~~                           873,320.
 5 Add lines 1 through 4                                       15,371,944. 9                    Balance at end of year. Subtract line 8 from line 5 14,498,624.
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911042 12-30-19
                                                                      Doc 1 Filed 08/31/21 Entered 08/31/21                                              11:12:09 Form
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SCHEDULE B-1                                      Information on Partners Owning 50% or
(Form 1065)                                              More of the Partnership
(Rev. August 2019)                                                                                                                           OMB No. 1545-0123
Department of the Treasury
                                                                      J Attach to Form 1065.
Internal Revenue Service                              J Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                                    Employer identification number



   SHURWEST LLC                                                                              XX-XXXXXXX
  Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
         2009 through 2017))
Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust,
tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
partnership (see instructions).
                             (i) Name of Entity                         (ii) Employer            (iii)                     (iv)              (v) Maximum
                                                                       Identification       Type of Entity       Country of Organization Percentage Owned
                                                                      Number (if any)                                                     in Profit, Loss, or




                                                                                                           PY
                                                                                                                                                 Capital

SHURWEST HOLDING COMPANY, INC.                                                            CORPORATION UNITED STATES                                       64.67

RLS CAPITAL HOLDINGS LLLP                                                                 LLP                   UNITED STATES                             64.67




                                                                                          CO
                                                                      NT
  Part II         Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                  (Question 3b for 2009 through 2017))
Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
capital of the partnership (see instructions).
                                                    IE

                   (i) Name of Individual or Estate                    (ii) Identifying    (iii) Country of Citizenship (see instructions)        (iv) Maximum
                                                                      Number (if any)                                                          Percentage Owned
                                                                                                                                                 in Profit, Loss,
                                                                                                                                                     or Capital
                                                  CL




LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                         Schedule B-1 (Form 1065) (Rev. 8-2019)




924551 11-13-19
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SCHEDULE M-3                                             Net Income (Loss) Reconciliation                                                                  OMB No. 1545-0123

                                                              for Certain Partnerships
                                                                                                                                                              2019
(Form 1065)

Department of the Treasury
                                                                            | Attach to Form 1065.
Internal Revenue Service                             | Go to www.irs.gov/Form1065 for instructions and the latest information.
Name of partnership                                                                                                                             Employer identification number

            SHURWEST LLC                                                                                                                             XX-XXXXXXX
This Schedule M-3 is being filed because (check all that apply):
  A X The amount of the partnership's total assets at the end of the tax year is equal to $10 million or more.
    B       X    The amount of the partnership's adjusted total assets for the tax year is equal to $10 million or more. If box B is checked,
                 enter the amount of adjusted total assets for the tax year       18,462,379. .
    C            The amount of total receipts for the tax year is equal to $35 million or more. If box C is checked, enter the total
                 receipts for the tax year                                    .
    D       X    An entity that is a reportable entity partner with respect to the partnership owns or is deemed to own an interest of 50%




                                                                                                                            PY
                 or more in the partnership's capital, profit, or loss on any day during the tax year of the partnership.
                                                                                                                                             Maximum Percentage Owned or
                                    Name of Reportable Entity Partner                                       Identifying Number
                                                                                                                                                   Deemed Owned
SHURWEST HOLDING COMPANY, INC                                                                                            12                          64.6700%
RLS CAPITAL HOLDINGS LLLP                                                                                               913                          64.6700%
    E            Voluntary Filer.




                                                                                                       CO
Part I            Financial Information and Net Income (Loss) Reconciliation
1a Did the partnership file SEC Form 10-K for its income statement period ending with or within this tax year?
          Yes. Skip lines 1b and 1c and complete lines 2 through 11 with respect to that SEC Form 10-K.
            X No. Go to line 1b. See instructions if multiple non-tax-basis income statements are prepared.
 b Did the partnership prepare a certified audited non-tax-basis income statement for that period?
          Yes. Skip line 1c and complete lines 2 through 11 with respect to that income statement.
            X No. Go to line 1c.
    c Did the partnership prepare a non-tax-basis income statement for that period?
        X Yes. Complete lines 2 through 11 with respect to that income statement.
                                                                                  NT
               No. Skip lines 2 through 3b and enter the partnership's net income (loss) per its books and records on line 4a.
2       Enter the income statement period:    Beginning 01/01/2019                      Ending 12/31/2019
3a Has the partnership's income statement been restated for the income statement period on line 2?
         Yes. (If "Yes," attach a statement and the amount of each item restated.)
            X No.
                                                    IE

 b Has the partnership's income statement been restated for any of the five income statement periods immediately preceding the period on line 2?
         Yes. (If "Yes," attach a statement and the amount of each item restated.)
            X No.
4a Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1 ~~~~~~~~~~~~                              4a        -1,071,666.
 b Indicate accounting standard used for line 4a (see instructions).
                                                  CL



        1    GAAP           2        IFRS         3         Section 704(b)
   4         Tax-basis      5 X Other (Specify) | BOOKS & RECORDS
5a Net income from nonincludible foreign entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                5a    (                          )
 b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~                               5b
6a Net income from nonincludible U.S. entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  6a    (                          )
 b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~~                                 6b
7a Net income (loss) of other foreign disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~                                           7a
 b Net income (loss) of other U.S. disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~                                            7b
8       Adjustment to eliminations of transactions between includible entities and nonincludible entities (attach stmt.)     ~~~~~~~             8
9       Adjustment to reconcile income statement period to tax year (attach statement) ~~~~~~~~~~~~~~~~~~~~~                                     9
10 Other adjustments to reconcile to amount on line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~                                              10
11 Net income (loss) per income statement of the partnership. Combine lines 4a through 10 ~~~~~~~~~~~~~~~                                       11        -1,071,666.
   Note: Part I, line 11, must equal Part II, line 26, column (a), or Schedule M-1, line 1. See instructions.
12 Enter the total amount (not just the partnership's share) of the assets and liabilities of all entities included or removed on the following lines.
                                                      Total Assets                      Total Liabilities
 a Included on Part I, line 4                       16,517,393.                          2,018,769.
 b Removed on Part I, line 5
 c Removed on Part I, line 6
 d Included on Part I, line 7
For Paperwork Reduction Act Notice, see the instructions for your return.                                                                        Schedule M-3 (Form 1065) 2019
910991 01-13-20 LHA
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           4562                                                     Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                        (Including Information on Listed Property)
                                                                                        | Attach to your tax return.
                                                                                                                                                       OTHER                       1
                                                                                                                                                                                            2019
                                                                                                                                                                                            Attachment
Internal Revenue Service   (99)                     | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                               Sequence No.   179
Name(s) shown on return                                                                                             Business or activity to which this form relates                      Identifying number



SHURWEST LLC                                                                                                                      XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        1,020,000.
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                             2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                              3            2,550,000.
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                      4
 5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                         5
 6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




                                                                                                                                               PY
 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8




                                                                                                                      CO
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
10 Carryover of disallowed deduction from line 13 of your 2018 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11


                                                                                                                               9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
13 Carryover of disallowed deduction to 2020. Add lines 9 and 10, less line 12                                                    13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
                                                                                                                                                                                                  81,853.
                                                                                            NT
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
16 Other depreciation (including ACRS)                                                                                                 16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2019                                           ~~~~~~~~~~~~~~                                17                    17,575.
                                                                                                           J
                                                           IE

18       If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                   Section B - Assets Placed in Service During 2019 Tax Year Using the General Depreciation System
                                                                        (b) Month and        (c) Basis for depreciation
                   (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method       (g) Depreciation deduction
                                                                           in service         only - see instructions)              period


19a           3-year property
                                                         CL



     b        5-year property
     c        7-year property
     d        10-year property
     e        15-year property
     f        20-year property
     g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                               /                                                27.5 yrs.              MM                S/L
     h        Residential rental property
                                                                               /                                                27.5 yrs.              MM                S/L
                                                                               /                                                 39 yrs.               MM                S/L
     i        Nonresidential real property
                                                               /                                                 MM         S/L
                                 Section C - Assets Placed in Service During 2019 Tax Year Using the Alternative Depreciation System
20a           Class life                                                                                                                                                 S/L
  b           12-year                                                                                                             12 yrs.                                S/L
  c           30-year                                                          /                                                  30 yrs.              MM                S/L
  d           40-year                                                          /                                                  40 yrs.              MM                S/L
 Part IV             Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22                    99,428.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                            23
916251 12-12-19
                 Case
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                         For Paperwork Reduction Act Notice, see separate instructions.
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Form 4562 (2019)                 SHURWEST LLC                                                                         XX-XXXXXXX                                               Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      !   !
26 Property used more than 50% in a qualified business use:



                                      !   !
                                                          %



                                      !   !
                                                          %




                                                                                                                 PY
                                                     %



                                      !   !
27 Property used 50% or less in a qualified business use:



                                      !   !
                                                          %                                                          S/L -



                                      !   !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28




                                                                                               CO
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
                                                                           NT
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
                                                IE

   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                                              CL



                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2019 tax year:



                                                            ! !
43 Amortization of costs that began before your 2019 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43                     793,024.
44 Total. Add amounts in column (f). See the instructions for where to report                                            44                     793,024.
916252 12-12-19                                                                                                                                                    Form 4562 (2019)
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                                    Worksheet for Figuring Net Earnings (Loss) From Self-Employment

Name of partnership                                                                                                        Employer identification number


    SHURWEST LLC                                                                                                              XX-XXXXXXX
1 a Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                  1a   271,858.
  b Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                        1b
  c Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                   1c
  d Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
    amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       1d
  e Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1e
  f Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1f   271,858.
2 a Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                   2a




                                                                                                           PY
  b Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2b
  c Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2c
3 a Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
    on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3a   271,858.
  b Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
    organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~         3b     131,851.
                                                                                                                                      140,007.




                                                                                                 CO
  c Subtract line 3b from line 3a     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      3c
4 a Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
    as defined in section 1402(c) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4a
  b Part of line 4a allocated to individual limited partners for other than services and to
    estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~               4b
 c Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4c
5 Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a    5               140,007.
                                                                           NT
                                               IE
                                             CL




912161
12-30-19
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Section 1.263(a)-1(f) De Minimis Safe Harbor Election




Shurwest LLC
17550 N Perimeter Dr #300
Scottsdale, AZ 85255


Employer Identification Number:     XX-XXXXXXX


For the Year Ending December 31, 2019




                                                      PY
Shurwest LLC is making the de minimis safe harbor election under
Reg. Sec. 1.263(a)-1(f).




                                            CO
                                 NT
                  IE
                CL




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                        TAX EXPENSE                     STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                               AMOUNT
}}}}}}}}}}}                                                           }}}}}}}}}}}}}}
CALIFORNIA TAXES - BASED ON INCOME                                            4,100.
NEW JERSEY TAXES - BASED ON INCOME                                                18.
NORTH CAROLINA TAXES - BASED ON INCOME                                           100.
OHIO TAXES - BASED ON INCOME                                                  2,822.
OREGON TAXES - BASED ON INCOME                                                   300.
PAYROLL TAXES                                                               137,740.
PENNSYLVANIA TAXES - BASED ON INCOME                                               3.
                                                                      }}}}}}}}}}}}}}




                                                         PY
TOTAL TO FORM 1065, LINE 14                                                 145,083.
                                                                      ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                      OTHER DEDUCTIONS                  STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}




                                               CO
DESCRIPTION                                                               AMOUNT
}}}}}}}}}}}                                                           }}}}}}}}}}}}}}
ADVERTISING                                                                 110,143.
AGENT EXPENSES                                                            1,651,744.
AMORT. EXP. ON SCH K LINE 13V                                              -793,024.
AMORTIZATION EXPENSE                                                        793,024.
BANK FEES                                                                        998.
COMMUNICATIONS EXPENSE                                                       11,676.
                                     NT
COMPUTER & EQUIPMENT                                                         30,322.
CRM                                                                         184,377.
DUES & SUBSCRIPTIONS                                                         58,007.
EMPLOYEE INCENTIVE PROGRAMS                                                      475.
INSURANCE                                                                     9,859.
LEASED EMPLOYEES                                                            132,166.
                       IE

LEGAL & OTHER PROFESSIONAL FEES                                           1,762,844.
MANAGEMENT FEES                                                               2,781.
MEALS                                                                         1,645.
MEALS - 100%                                                                  6,139.
                     CL



OFFICE EXPENSES                                                              43,076.
PAYROLL EXPENSES                                                              3,554.
POSTAGE & DELIVERY                                                           19,057.
PRINTING & REPRODUCTION                                                      25,048.
PROVISION FOR ADVISOR ROLLUPS                                               650,000.
RECRUITING & TRAINING                                                       203,373.
TRAVEL                                                                        7,539.
                                                                      }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 20                                               4,914,823.
                                                                      ~~~~~~~~~~~~~~




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                     INTEREST INCOME                   STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                             U.S. BONDS           OTHER
}}}}}}}}}}}                                           }}}}}}}}}}}}}}     }}}}}}}}}}}}}}
INTEREST INCOME                                                                  1,658.
                                                      }}}}}}}}}}}}}}     }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 5                                                      1,658.
                                                      ~~~~~~~~~~~~~~     ~~~~~~~~~~~~~~

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SCHEDULE K                 CHARITABLE CONTRIBUTIONS              STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}




                                                           PY
DESCRIPTION                                             TYPE              AMOUNT
}}}}}}}}}}}                                    }}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}
CHARITABLE CONTRIBUTIONS                       CASH (60%)                   37,148.
                                                                       }}}}}}}}}}}}
TOTALS TO SCHEDULE K, LINE 13A                                              37,148.
                                                                       ~~~~~~~~~~~~




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SCHEDULE K                    OTHER DEDUCTIONS                   STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
                                      NT
SECTION 743(B) NEGATIVE ADJUSTMENTS                                            793,024.
                                                                         }}}}}}}}}}}}}}
TOTAL INCLUDED IN SCHEDULE K, LINE 13D                                         793,024.
                                                                         ~~~~~~~~~~~~~~


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                       IE

SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
                     CL



}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
ENTERTAINMENT                                                                       861.
EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                        1,645.
PENALTIES                                                                        4,863.
                                                                         }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 18C                                                    7,369.
                                                                         ~~~~~~~~~~~~~~


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SCHEDULE K                       OTHER ITEMS                     STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
SECTION 199A - ORDINARY INCOME (LOSS)                                          271,858.
SECTION 199A W-2 WAGES                                                       1,541,099.
SECTION 199A UNADJUSTED BASIS OF ASSETS                                      1,987,075.




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SHURWEST LLC                                                        XX-XXXXXXX
}}}}}}}}}}}}                                                        }}}}}}}}}}
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SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ANNUITY INCOME RECEIVABLE                                   178,798.        84,513.
DUE FROM EMPLOYEES                                           24,204.        11,768.
DUE FROM RELATED PARTIES                                      7,701.        13,289.
LIFE INSURANCE INCOME RECEIVABLE                                363.         7,156.
OTHER RECEIVABLES                                            77,423.        91,423.
PARETO RECEIVABLE                                           100,000.       100,000.
PREPAID EXPENSES                                            158,683.        19,887.




                                                         PY
UNDEPOSITED FUNDS                                               150.              0.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                 547,322.       328,036.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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                                                CO
SCHEDULE L                      OTHER ASSETS                     STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                            26,650.        26,650.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 13                                 26,650.        26,650.
                                     NT
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


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SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                       IE

                                                       BEGINNING OF    END OF TAX
DESCRIPTION                                              TAX YEAR         YEAR
}}}}}}}}}}}                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED EXPENSES                                             41,593.        48,951.
                     CL



ACCRUED INTEREST                                                  0.           699.
ACCRUED PAYROLL                                             503,982.              0.
ACCRUED RENT                                                 90,021.        59,667.
PROVISION FOR ADVISOR ROLL UPS                                    0.     1,063,630.
SALES TAX PAYABLE                                               437.              9.
STATE TAX PAYABLE                                                 0.         3,637.
                                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 17                                636,033.     1,176,593.
                                                      ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN   STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
ENTERTAINMENT                                                                      861.
PENALTIES                                                                       4,863.
PROVISION FOR ADVISOR ROLLUPS                                               1,063,630.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 4                                               1,069,354.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE M-1    DEDUCTIONS ON RETURN NOT CHARGED AGAINST BOOKS   STATEMENT 12
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DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
RENT EXPENSE                                                                   21,698.
AMORTIZATION                                                                  793,024.




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TOTAL TO SCHEDULE M-1, LINE 7                                                 814,722.
                                                                        ~~~~~~~~~~~~~~
                                     NT
                       IE
                     CL




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                                                                     11:12:09 Desc 11, 12
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        KT EQUITY PARTNERS
               CASE          III, LLC
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                                                                                                                                                                                                  651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                   2019
                                                                       For calendar year 2019, or tax year
                                                                                                                                  Final K-1                       Amended K-1
                                                                                                                        Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

Internal Revenue Service                                                                                                         Deductions, Credits, and Other Items
                             beginning                                 ending                                   1 Ordinary business income (loss)                       15 Credits
Partner's Share of Income, Deductions,                                                                                                             67,965.
Credits, etc.                          | See separate instructions.                                             2               Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                              16 Foreign transactions
  A Partnership's employer identification number                                                                3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                   4a                 Guaranteed payments for services


  SHURWEST LLC                                                                                               4b Guaranteed payments for capital
  17550 N PERIMETER DR #300




                                                                                                                                                  PY
  SCOTTSDALE, AZ 85255                                                                                       4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                         17 Alternative min tax (AMT) items
  E-FILE                                                                                                        5 Interest income
  D             Check if this is a publicly traded partnership (PTP)                                                                                        415.
   Part II          Information About the Partner                                                            6a Ordinary dividends




                                                                                                             CO
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                            18 Tax-exempt income and
                                                                                                             6b Qualified dividends                                         nondeductible expenses

  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                               C*                         STMT
                                                                                                             6c Dividend equivalents
  KT EQUITY PARTNERS III, LLC
  2950 SW MCCLURE ROAD                                                                                          7 Royalties                                             19 Distributions
  TOPEKA, KS 66614                                                                                                                                                     A                   217,563.
  G   General partner or LLC X Limited partner or other LLC                                                     8 Net short-term capital gain (loss)
                member-manager                                         member
                                                                                    NT
                                                                                                                                                                        20 Other information
  H1 X Domestic partner                                                Foreign partner                       9a Net long-term capital gain (loss)                      A                             415.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                      Z        *                    STMT
       TIN                               Name                                                                9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?         PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
                                                    IE

  J Partner's share of profit, loss, and capital:
                     Beginning                                              Ending                           10 Net section 1231 gain (loss)
       Profit               25.0000000 %                                    25.0000000 %
       Loss                 25.0000000 %                                    25.0000000 %                     11 Other income (loss)
       Capital              24.1913405 %                                    24.1913405 %
                                                  CL



       Check if decrease is due to sale or exchange of partnership interest            ~~~~
  K Partner's share of liabilities:
                                             Beginning                               Ending                  12 Section 179 deduction
       Nonrecourse  $                        257,973. $                                60,284.
       Qualified nonrecourse                                                                                 13 Other deductions
       financing  $                                            $                                   0. A                                       9,287.
       Recourse  $                                       0. $                                      0. V                                     276,000.
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis                                              14 Self-employment earnings (loss)
                 SEE STATEMENT                                                              A                                                 67,965.
       Beginning capital account ~~~~~~~~~~ $                                    3,977,926. C                                              1,874,475.
       Capital contributed during the year ~~~~~~~ $                                                         21                         More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~ $                                 -216,907. 22     More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~ $                         -51,008. *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~ $ (                                  217,563.)
                                                                                 3,492,448.
                                                                                                             For IRS Use Only




       Ending capital account        ~~~~~~~~~~~ $
  M Did the partner contribute property with a built-in gain or loss?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~~ $
      Ending  $
           Case
911261 12-30-19 LHA2:21-bk-06723-DPC                  Doc
                     For Paperwork Reduction Act Notice,     1 Filed
                                                         see Instructions for 08/31/21
                                                                              Form 1065.  Entered 08/31/21
                                                                                         www.irs.gov/Form1065                                                          11:12:09
                                                                                                                                                                          Schedule K-1Desc
                                                                                                                                                                                      (Form 1065)       2019
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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
EXCLUDED MEALS AND                  NONDEDUCTIBLE PORTION
ENTERTAINMENT EXPENSES                                                            411.
ENTERTAINMENT                                                                     215.
PENALTIES                                                                       1,216.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                           1,842.
                                                                        ~~~~~~~~~~~~~~




                                                          PY
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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}




                                                CO
TRADE OR BUSINESS -

 ORDINARY INCOME (LOSS)                                                        67,965.
 SELF-EMPLOYMENT EARNINGS(LOSS)                                                67,965.
 W-2 WAGES                                                                    385,275.
 UNADJUSTED BASIS OF ASSETS                                                   496,769.
                                     NT
                        IE
                      CL




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SHURWEST LLC                                                        XX-XXXXXXX
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SCH K-1
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THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
STATEMENT.

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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}




                                                          PY
DESCRIPTION                                                AMOUNT         TOTALS
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                        67,965.
INTEREST INCOME                                                  415.
                                                       }}}}}}}}}}}}}}




                                                CO
     SCHEDULE K-1 INCOME SUBTOTAL                                            68,380.

CHARITABLE CONTRIBUTIONS                                      -9,287.
OTHER DEDUCTIONS                                            -276,000.
                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                        -285,287.
                                                                        }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                           -216,907.
                                     NT
                                                                        ~~~~~~~~~~~~~~


AMORTIZATION ON RETURN AND NOT ON BOOKS                                       198,256.
SECTION 754 AMORTIZATION ON RETURN AND NOT ON                                  77,744.
BOOKS
DEPRECIATION ON BOOKS AND NOT ON RETURN                                       -64,683.
                       IE

NONDEDUCTIBLE EXPENSES                                                         -1,842.
PROVISION FOR ADVISOR ROLLUPS                                                -265,908.
RENT EXPENSE                                                                    5,425.
                                                                        }}}}}}}}}}}}}}
                     CL



TOTAL OTHER INCREASES OR DECREASES                                            -51,008.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 TAXPAYER BOOKS AND RECORDS




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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1                      FOOTNOTES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}


THE FOLLOWING INFORMATION IS BEING PROVIDED TO ASSIST WITH
THE CALCULATION OF THE INTEREST EXPENSE LIMITATION UNDER IRS
CODE SECTION 163(J), IF APPLICABLE. PLEASE CONSULT YOUR
TAX ADVISOR.

PARTNER'S SHARE OF ADJUSTED TAXABLE INCOME                                     84,534.
PARTNER'S SHARE OF BUSINESS INTEREST INCOME                                       415.
PARTNER'S SHARE OF BUSINESS INTEREST EXPENSE                                      175.




                                                          PY
TOTAL ANNUAL GROSS RECEIPTS OF PARTNERSHIP:




                                                CO
     2016                                                                  15,780,798.
     2017                                                                  16,839,132.
     2018                                                                  21,112,358.

A PARTNER'S PERCENTAGE INTEREST IN THE TOTAL GROSS
RECEIPTS CAN BE DETERMINED BY REFERRING TO ITEM J OF THE
PARTNER'S SCHEDULE K-1 FOR EACH APPLICABLE YEAR.
                                     NT
INCLUDED IN CASH DISTRIBUTIONS - SCHEDULE L PAGE 1 OF
FORM K-1 IS NON-RESIDENT STATE WITHHOLDING PAID TO WISCONSIN
ON YOUR BEHALF FOR THE FOLLOWING YEARS:

     2018                                                                          765.
                         IE

INCLUDED IN CASH DISTRIBUTIONS - SCHEDULE L PAGE 1 OF
FORM K-1 IS NON-RESIDENT STATE WITHHOLDING PAID TO
NEW JERSEY ON YOUR BEHALF FOR THE FOLLOWING YEARS:
                       CL



     2018                                                                        2,524.




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        SHURWEST HOLDING
               CASE       COMPANY, INC.
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                                                                                                                                                                                                  651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                   2019
                                                                       For calendar year 2019, or tax year
                                                                                                                                  Final K-1                       Amended K-1
                                                                                                                        Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

Internal Revenue Service                                                                                                         Deductions, Credits, and Other Items
                             beginning                                 ending                                   1 Ordinary business income (loss)                       15 Credits
Partner's Share of Income, Deductions,                                                                                                          131,851.
Credits, etc.                          | See separate instructions.                                             2               Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                              16 Foreign transactions
  A Partnership's employer identification number                                                                3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                   4a                 Guaranteed payments for services


  SHURWEST LLC                                                                                               4b Guaranteed payments for capital
  17550 N PERIMETER DR #300




                                                                                                                                                  PY
  SCOTTSDALE, AZ 85255                                                                                       4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                         17 Alternative min tax (AMT) items
  E-FILE                                                                                                        5 Interest income
  D             Check if this is a publicly traded partnership (PTP)                                                                                        804.
   Part II          Information About the Partner                                                            6a Ordinary dividends




                                                                                                             CO
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                            18 Tax-exempt income and
                                                                                                             6b Qualified dividends                                         nondeductible expenses

  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                               C*                         STMT
                                                                                                             6c Dividend equivalents
  SHURWEST HOLDING COMPANY, INC.
  17550 N. PERIMETER DRIVE, STE. 300                                                                            7 Royalties                                             19 Distributions
  SCOTTSDALE, AZ 85255                                                                                                                                                 A                   424,404.
  G   General partner or LLC X Limited partner or other LLC                                                     8 Net short-term capital gain (loss)
                member-manager                                         member
                                                                                    NT
                                                                                                                                                                        20 Other information
  H1 X Domestic partner                                                Foreign partner                       9a Net long-term capital gain (loss)                      A                             804.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                      Z        *                    STMT
       TIN                               Name                                                                9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?         CORPORATION
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
                                                    IE

  J Partner's share of profit, loss, and capital:
                     Beginning                                              Ending                           10 Net section 1231 gain (loss)
       Profit               48.5000000 %                                    48.5000000 %
       Loss                 48.5000000 %                                    48.5000000 %                     11 Other income (loss)
       Capital              48.4946453 %                                    48.4946453 %
                                                  CL



       Check if decrease is due to sale or exchange of partnership interest            ~~~~
  K Partner's share of liabilities:
                                             Beginning                               Ending                  12 Section 179 deduction
       Nonrecourse  $                        500,468. $                             116,951.
       Qualified nonrecourse                                                                                 13 Other deductions
       financing  $                                            $                                   0. A                                        18,017.
       Recourse  $                                       0. $                                      0.
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis                                              14 Self-employment earnings (loss)
                 SEE STATEMENT
       Beginning capital account ~~~~~~~~~~ $                                    7,974,275.
       Capital contributed during the year ~~~~~~~ $                                                         21                         More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~ $                                  114,638. 22     More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~ $                        -634,397. *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~ $ (                                  424,404.)
                                                                                 7,030,112.
                                                                                                             For IRS Use Only




       Ending capital account        ~~~~~~~~~~~ $
  M Did the partner contribute property with a built-in gain or loss?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~~ $
      Ending  $
           Case
911261 12-30-19 LHA2:21-bk-06723-DPC                  Doc
                     For Paperwork Reduction Act Notice,     1 Filed
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                                                                              Form 1065.  Entered 08/31/21
                                                                                         www.irs.gov/Form1065                                                          11:12:09
                                                                                                                                                                          Schedule K-1Desc
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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
EXCLUDED MEALS AND                  NONDEDUCTIBLE PORTION
ENTERTAINMENT EXPENSES                                                            798.
ENTERTAINMENT                                                                     418.
PENALTIES                                                                       2,358.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                           3,574.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}




                                                CO
TRADE OR BUSINESS -

 ORDINARY INCOME (LOSS)                                                       131,851.
 W-2 WAGES                                                                    747,433.
 UNADJUSTED BASIS OF ASSETS                                                   963,731.
                                     NT
                        IE
                      CL




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SHURWEST LLC                                                        XX-XXXXXXX
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SCH K-1
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THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
STATEMENT.

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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}




                                                          PY
DESCRIPTION                                                AMOUNT         TOTALS
}}}}}}}}}}}                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                       131,851.
INTEREST INCOME                                                  804.
                                                       }}}}}}}}}}}}}}




                                                CO
     SCHEDULE K-1 INCOME SUBTOTAL                                           132,655.

CHARITABLE CONTRIBUTIONS                                     -18,017.
                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                         -18,017.
                                                                        }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                            114,638.
                                                                        ~~~~~~~~~~~~~~
                                     NT
AMORTIZATION ON RETURN AND NOT ON BOOKS                                       384,617.
SECTION 754 AMORTIZATION ON RETURN AND NOT ON                                -384,617.
BOOKS
DEPRECIATION ON BOOKS AND NOT ON RETURN                                      -125,486.
NONDEDUCTIBLE EXPENSES                                                         -3,574.
                       IE

PROVISION FOR ADVISOR ROLLUPS                                                -515,860.
RENT EXPENSE                                                                   10,523.
                                                                        }}}}}}}}}}}}}}
TOTAL OTHER INCREASES OR DECREASES                                           -634,397.
                     CL



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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 TAXPAYER BOOKS AND RECORDS




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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1                      FOOTNOTES
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THE FOLLOWING INFORMATION IS BEING PROVIDED TO ASSIST WITH
THE CALCULATION OF THE INTEREST EXPENSE LIMITATION UNDER IRS
CODE SECTION 163(J), IF APPLICABLE. PLEASE CONSULT YOUR
TAX ADVISOR.

PARTNER'S SHARE OF ADJUSTED TAXABLE INCOME                                     163,996.
PARTNER'S SHARE OF BUSINESS INTEREST INCOME                                        804.
PARTNER'S SHARE OF BUSINESS INTEREST EXPENSE                                       339.




                                                          PY
TOTAL ANNUAL GROSS RECEIPTS OF PARTNERSHIP:




                                                CO
     2016                                                                  15,780,798.
     2017                                                                  16,839,132.
     2018                                                                  21,112,358.

A PARTNER'S PERCENTAGE INTEREST IN THE TOTAL GROSS
RECEIPTS CAN BE DETERMINED BY REFERRING TO ITEM J OF THE
PARTNER'S SCHEDULE K-1 FOR EACH APPLICABLE YEAR.
                                     NT
INCLUDED IN CASH DISTRIBUTIONS - SCHEDULE L PAGE 1 OF
FORM K-1 IS NON-RESIDENT STATE WITHHOLDING PAID TO WISCONSIN
ON YOUR BEHALF FOR THE FOLLOWING YEARS:

     2018                                                                        2,948.
                         IE

INCLUDED IN CASH DISTRIBUTIONS - SCHEDULE L PAGE 1 OF
FORM K-1 IS NON-RESIDENT STATE WITHHOLDING PAID TO
NEW JERSEY ON YOUR BEHALF FOR THE FOLLOWING YEARS:
                       CL



     2018                                                                        5,765.




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        RLS CAPITAL HOLDINGS LLLP
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                                                                                                                                                                                                  651119

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                   2019
                                                                       For calendar year 2019, or tax year
                                                                                                                                  Final K-1                       Amended K-1
                                                                                                                        Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

Internal Revenue Service                                                                                                         Deductions, Credits, and Other Items
                             beginning                                 ending                                   1 Ordinary business income (loss)                       15 Credits
Partner's Share of Income, Deductions,                                                                                                             72,042.
Credits, etc.                          | See separate instructions.                                             2               Net rental real estate income (loss)
  Part I Information About the Partnership                                                                                                                              16 Foreign transactions
  A Partnership's employer identification number                                                                3 Other net rental income (loss)
  XX-XXXXXXX
  B Partnership's name, address, city, state, and ZIP code                                                   4a                 Guaranteed payments for services


  SHURWEST LLC                                                                                               4b Guaranteed payments for capital
  17550 N PERIMETER DR #300




                                                                                                                                                  PY
  SCOTTSDALE, AZ 85255                                                                                       4c Total guaranteed payments
  C IRS Center where partnership filed return |                                                                                                                         17 Alternative min tax (AMT) items
  E-FILE                                                                                                        5 Interest income
  D             Check if this is a publicly traded partnership (PTP)                                                                                        439.
   Part II          Information About the Partner                                                            6a Ordinary dividends




                                                                                                             CO
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                                                                            18 Tax-exempt income and
                                                                                                             6b Qualified dividends                                         nondeductible expenses

  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                               C*                         STMT
                                                                                                             6c Dividend equivalents
  RLS CAPITAL HOLDINGS LLLP
  16767 N. PERIMETER DRIVE, STE. 320                                                                            7 Royalties                                             19 Distributions
  SCOTTSDALE, AZ 85260                                                                                                                                                 A                   231,353.
  G   General partner or LLC X Limited partner or other LLC                                                     8 Net short-term capital gain (loss)
                member-manager                                         member
                                                                                    NT
                                                                                                                                                                        20 Other information
  H1 X Domestic partner                                                Foreign partner                       9a Net long-term capital gain (loss)                      A                             439.
  H2            If the partner is a disregarded entity (DE), enter the partner's:                                                                                      Z        *                    STMT
       TIN                               Name                                                                9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner?         PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                              9c Unrecaptured section 1250 gain
                                                    IE

  J Partner's share of profit, loss, and capital:
                     Beginning                                              Ending                           10 Net section 1231 gain (loss)
       Profit               26.5000000 %                                    26.5000000 %
       Loss                 26.5000000 %                                    26.5000000 %                     11 Other income (loss)
       Capital              27.3140142 %                                    27.3140142 %
                                                  CL



       Check if decrease is due to sale or exchange of partnership interest            ~~~~
  K Partner's share of liabilities:
                                             Beginning                               Ending                  12 Section 179 deduction
       Nonrecourse  $                        273,452. $                                63,901.
       Qualified nonrecourse                                                                                 13 Other deductions
       financing  $                                            $                         0. A                                                 9,844.
       Recourse  $                                       0. $                      650,699. V                                               517,024.
                Check this box if Item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis                                              14 Self-employment earnings (loss)
                 SEE STATEMENT                                                              A                                                 72,042.
       Beginning capital account ~~~~~~~~~~ $                                    4,491,409. C                                              1,986,944.
       Capital contributed during the year ~~~~~~~ $                                                         21                         More than one activity for at-risk purposes*
       Current year net income (loss) ~~~~~~~~~ $                                 -454,387. 22     More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation) ~~ $                         170,395. *See attached statement for additional information.
       Withdrawals & distributions ~~~~~~~~~~ $ (                                  231,353.)
                                                                                 3,976,064.
                                                                                                             For IRS Use Only




       Ending capital account        ~~~~~~~~~~~ $
  M Did the partner contribute property with a built-in gain or loss?
          Yes        X No If "Yes," attach statement. See instructions.
  N    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
      Beginning ~~~~~~~~~~~~~~~~~ $
      Ending  $
           Case
911261 12-30-19 LHA2:21-bk-06723-DPC                  Doc
                     For Paperwork Reduction Act Notice,     1 Filed
                                                         see Instructions for 08/31/21
                                                                              Form 1065.  Entered 08/31/21
                                                                                         www.irs.gov/Form1065                                                          11:12:09
                                                                                                                                                                          Schedule K-1Desc
                                                                                                                                                                                      (Form 1065)       2019
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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                         PARTNER FILING INSTRUCTIONS             AMOUNT
}}}}}}}}}}}                         }}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}
EXCLUDED MEALS AND                  NONDEDUCTIBLE PORTION
ENTERTAINMENT EXPENSES                                                            436.
ENTERTAINMENT                                                                     228.
PENALTIES                                                                       1,289.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                           1,953.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                 AMOUNT
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                                                CO
TRADE OR BUSINESS -

 ORDINARY INCOME (LOSS)                                                        72,042.
 SELF-EMPLOYMENT EARNINGS(LOSS)                                                72,042.
 W-2 WAGES                                                                    408,391.
 UNADJUSTED BASIS OF ASSETS                                                   526,575.
                                     NT
                        IE
                      CL




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SHURWEST LLC                                                        XX-XXXXXXX
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SCH K-1
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THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
STATEMENT.

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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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                                                          PY
DESCRIPTION                                                AMOUNT         TOTALS
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ORDINARY INCOME (LOSS)                                        72,042.
INTEREST INCOME                                                  439.
                                                       }}}}}}}}}}}}}}




                                                CO
     SCHEDULE K-1 INCOME SUBTOTAL                                            72,481.

CHARITABLE CONTRIBUTIONS                                      -9,844.
OTHER DEDUCTIONS                                            -517,024.
                                                       }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                        -526,868.
                                                                        }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                           -454,387.
                                     NT
                                                                        ~~~~~~~~~~~~~~


AMORTIZATION ON RETURN AND NOT ON BOOKS                                       210,151.
SECTION 754 AMORTIZATION ON RETURN AND NOT ON                                 306,873.
BOOKS
DEPRECIATION ON BOOKS AND NOT ON RETURN                                       -68,564.
                       IE

NONDEDUCTIBLE EXPENSES                                                         -1,953.
PROVISION FOR ADVISOR ROLLUPS                                                -281,862.
RENT EXPENSE                                                                    5,750.
                                                                        }}}}}}}}}}}}}}
                     CL



TOTAL OTHER INCREASES OR DECREASES                                            170,395.
                                                                        ~~~~~~~~~~~~~~




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SCHEDULE K-1        ITEM L. PARTNER'S CAPITAL ACCOUNT ANALYSIS
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 TAXPAYER BOOKS AND RECORDS




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SHURWEST LLC                                                        XX-XXXXXXX
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SCHEDULE K-1                      FOOTNOTES
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THE CALCULATION OF THE INTEREST EXPENSE LIMITATION UNDER IRS
CODE SECTION 163(J), IF APPLICABLE. PLEASE CONSULT YOUR
TAX ADVISOR.

PARTNER'S SHARE OF ADJUSTED TAXABLE INCOME                                     89,606.
PARTNER'S SHARE OF BUSINESS INTEREST INCOME                                       439.
PARTNER'S SHARE OF BUSINESS INTEREST EXPENSE                                      185.




                                                          PY
TOTAL ANNUAL GROSS RECEIPTS OF PARTNERSHIP:




                                                CO
     2016                                                                  15,780,798.
     2017                                                                  16,839,132.
     2018                                                                  21,112,358.

A PARTNER'S PERCENTAGE INTEREST IN THE TOTAL GROSS
RECEIPTS CAN BE DETERMINED BY REFERRING TO ITEM J OF THE
PARTNER'S SCHEDULE K-1 FOR EACH APPLICABLE YEAR.
                                     NT
INCLUDED IN CASH DISTRIBUTIONS - SCHEDULE L PAGE 1 OF
FORM K-1 IS NON-RESIDENT STATE WITHHOLDING PAID TO WISCONSIN
ON YOUR BEHALF FOR THE FOLLOWING YEARS:

     2018                                                                        1,279.
                         IE

INCLUDED IN CASH DISTRIBUTIONS - SCHEDULE L PAGE 1 OF
FORM K-1 IS NON-RESIDENT STATE WITHHOLDING PAID TO
NEW JERSEY ON YOUR BEHALF FOR THE FOLLOWING YEARS:
                       CL



     2018                                                                        2,944.




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